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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

 CESIUMASTRO, INC.,                                    §
                                                       §
                 Plaintiff,                            §
                                                       §
 v.                                                    §   CASE NO. 1:24-CV-314
                                                       §
 ERIK LUTHER and ANYSIGNAL, INC.,                      §
                                                       §
                 Defendants.                           §


        DEFENDANT ERIK LUTHER’S EMERGENCY REQUEST FOR JUDICIAL
      CONFERENCE, MOTION TO STAY, AND MOTION FOR RULE 11 SANCTIONS


        For the reasons stated below, Defendant Erik Luther respectfully requests an emergency

conference with Judge Pitman; for an immediate stay of this lawsuit; and for an award of monetary

sanctions against Plaintiff and Plaintiff’s counsel pursuant to Federal Rule of Civil Procedure 11 .

Upon review of Plaintiff’s Complaint (Doc. 1), Luther’s Answer (Doc. 9), and the attached

evidence, the Court will no doubt agree that this lawsuit is frivolous and baseless; unsupported by,

and in many instances contrary to, the facts, the law, and the evidence already available to Plaintiff;

and brought in bad faith for the purpose of further harassing Defendant and causing him

unnecessary legal expenses in flagrant violation of Rule 11. As such, before Luther is forced to

needlessly expend even more of his limited resources, Luther urgently asks the Court to conduct

an emergency conference to consider whether this case should be stayed, whether Plaintiff should

be ordered to re-engage in the forensic analysis and data remediation process the parties agreed

upon, and whether Plaintiff and/or Plaintiff’s counsel should be sanctioned under Rule 11.

                                I.      ATTACHED EVIDENCE

        Exhibit A      Declaration of Erik Luther

        Exhibit B      Letter from Plaintiff’s counsel to Luther on August 31, 2023

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         Exhibit C         Letter from Luther to Plaintiff’s counsel on September 5, 2023

         Exhibit D         All emails exchanged with Plaintiff’s prior attorneys at Littler Mendelson

                           P.C. regarding this dispute

         Exhibit E         The Forensic Protocol agreed to by Plaintiff and Luther

                             II.    SUMMARY OF RELEVANT FACTS

         Luther was an employee at Plaintiff from early February 2021 until his resignation on

August 21, 2023.1 Luther’s positions with the Plaintiff—which eventually ended with the title

“Vice President of Product”—were dedicated to marketing and business development.2 Luther has

been employed at Saleae, Inc. as the Head of Marketing since September 5, 2023.3 Immediately

after Luther’s resignation, Plaintiff embarked on a concerted campaign of harassment supposedly

to enforce Luther’s Proprietary Information and Inventions Agreement (“PIIA”) (Exhibit B).

         Luther attempted to cooperate with Plaintiff to return any files or data that belonged to

Plaintiff, while also protecting his personal information, limit his legal fees, and asserting his

contractual right to exercise his stock purchase option.4 Upon receiving Plaintiff’s initial cease and

desist letter from one of Plaintiff’s prior attorneys, Michael Royal of Littler Mendelson, dated

August 31, 2023, Luther immediately performed a diligent search for any of Plaintiff’s property

in his possession, custody, or control.5 He located some emails and other data, which he detailed

in a letter to Plaintiff’s counsel on September 5, 2023 (Exhibit C).6 Upon retaining counsel, and



1 Ex. A at ¶ 3.
2 Id.
3 Id. at ¶ 2.
4 Id. at ¶¶ 9-11.
5 Id. at ¶ 10.
6 See also, id. at ¶ 10.


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after Mr. Royal sent a list of data storage devices that had allegedly been connected to Luther’s

company laptop sometime during his employment, Luther conducted another search and

discovered several portable hard drives that contained data that might belong to Plaintiff that he

had inadvertently overlooked.7

        Luther repeatedly stated his willingness to cooperate with remediation efforts, including

offering to provide Plaintiff with a sworn declaration attesting to his diligent searches and

compliance with the PIIA.8 Plaintiff rejected these offers and ignored Luther’s many inquiries

about the stock purchase transaction.9 Plaintiff continued to insist that Luther give Plaintiff access

to all of his personal electronic devices, email accounts, and cloud accounts, even the ones that did

not contain Plaintiff’s property.10 Plaintiff and Luther eventually agreed on a forensic analysis and

remediation process that was memorialized in the Forensic Inspection Protocol Agreement

(Exhibit E; hereafter, “Forensic Protocol”) executed on January 30, 2024.11

        Per the Forensic Protocol, Luther turned over several portable data storage devices, and

granted access to several email accounts (including accounts belonging to his teenaged son who

was a one-time video editor for Plaintiff), to a third-party vendor called TransPerfect on February

5 and 6, 2024.12 TransPerfect searched the devices/accounts using certain search terms and

uploaded the 2,402 “hits” to a Relativity database on February 15, 2024.13 Once the database was



7 Id. at ¶ 10; Ex. D-2 at pg. 6.
8 Exs. D-2 at pgs. 6, D-4 at pg. 2, D-5 at pg. 7.
9 Exs. D-2 at pgs. 1 and 3-6, D-4 at pgs. 1 and 4, D-5 at pgs. 4 and 7-10.
10 Exs. A at ¶ 10, D-2 at pg. 3-7, D-4 at pgs. 1-5.
11 See also, Exs. D-5 at pgs. 1-11, D-7 at pgs. 1-3.
12 Exs. A at ¶¶ 10-11, D-5 at 1.
13 Exs. E; D-6, D-7, D-8.


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ready, Plaintiff’s counsel conducted the initial review to determine which files Plaintiff believed

should be remediated.14 Littler completed the review on February 23 and identified 160 files.15

After working through some technical issues regarding Relativity with TransPerfect, Luther’s

attorney completed his review on February 23.16 However, Mr. Luther could not review the files

because he was not allowed to see which ones Littler identified as “responsive.”17 Luther’s counsel

diligently communicated with TransPerfect to correct the issue without any resolution, so Luther’s

counsel sent Plaintiff’s counsel an email on March 1 (Exhibit D-9) asking him to intervene quickly

so the process could keep moving.18 Plaintiff’s counsel never responded and Plaintiff filed this

lawsuit three weeks later.

                             III.    PLAINTIFF’S ALLEGATIONS

         The gist of Plaintiff’s case is that because Luther, as the head of marketing and business

development, had access to confidential information during his employment and assisted with

presentations to investors, because Luther has known the CEO of AnySignal for years, and because

(apparently, according to Plaintiff at least) AnySignal has contacted one of Plaintiff’s investors

and is developing competitive products, then it must be that Luther connected AnySignal with the

investor and is feeding them Plaintiff’s trade secrets.19 Plaintiff’s allegations are farcical.

         Plaintiff does not cite any facts or evidence whatsoever linking Luther and any of




14 Id.
15 Ex. D-8 at pgs. 6-11.
16 Ex. D-8 at pg. 8-11.
17 Ex. D-9.
18 Ex. D-9.
19 See Plaintiff’s Complaint and Jury Demand (Doc. 1; hereafter, “Plaintiff’s Complaint”) at ¶¶ 1-4, 34-
57.

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AnySignal’s business efforts and the alleged evidence that Plaintiff does cite do not support

Plaintiff’s contentions. Plaintiff describes a few emails that Luther sent to his personal account,

even though those emails were sent 5-18 months before he resigned.20 Plaintiff asserts that Luther

wrongfully connected flash drives to his company computer21, even though connecting such drives

was a routine and necessary part of the marketing team’s work.22 Plaintiff omits any mention as to

when the flash drives were connected (presumably because it was months before his resignation).

Plaintiff asserts that Luther must have been covering his tracks when he wiped his company iPad23,

even though resetting the iPad was necessary to ensure Luther’s AppleID was disconnected and

his personal data was protected from prying eyes.24 Even so, wiping the iPad but not his company

laptop does not make sense for someone supposedly trying to cover their tracks. Plaintiff’s final

allegation is that Luther accessed an unusual number of files in the days before his resignation25,

even though (as Plaintiff was no doubt aware) Luther was working hard to quickly complete

outstanding tasks, including updating an investor pitch presentation, and to organize files and

action items to assist his team with the transition.26 Noticeably missing is any mention of metadata

showing that Luther removed or downloaded the data to a flash drive or by any other means.

         In addition to the obvious gaps in Plaintiff’s assertions from the beginning, Plaintiff’s

allegations revealed that Plaintiff was fishing for a reasons to continue pursuing Luther. On



20 Plaintiff’s Complaint at ¶¶ 3, 49-51.
21 Plaintiff’s Complaint at ¶ 3.
22 Ex. A at ¶ 3.
23 Id.
24 Ex. A at ¶ 7.
25 Id.
26 Id. at ¶ 6.


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October 5, Michael Royal charged that Luther hiring a firm like Ogletree Deakins “indicates a

competitor… has agreed to pay for Mr. Luther’s legal expenses.”27 The day prior, Mr. Royal

argued that Luther was violating his customer non-solicitation covenant by liking someone’s

LinkedIn post.28 Plaintiff continued its bizarre allegations in this suit. For example, Plaintiff avers

that Luther neglecting to bring his laptop to work on the day he resigned and apparently taking too

long to retrieve it must have been “manufactured” so he could spoliate evidence,29 even though

Luther uses his laptop at the office and Plaintiff unexpectedly terminated him effective

immediately.30

        Plaintiff then takes the gigantic, Grand Canyon-sized leap from the paltry, easily-

explainable evidence it cites to the remarkable allegation that Luther has been secretly assisting

AnySignal and feeding them Plaintiff’s trade secrets without citing any evidence whatsoever.31

        Plaintiff’s house of cards falls apart completely when confronted with the rest of the

context, namely Luther’s cooperation in the remediation process and Plaintiff’s counsel’s

possession of all of Luther’s email accounts. If a smoking gun existed, such as evidence that Luther

sent information or documents to AnySignal (or any third parties for that matter), communicated

with Plaintiff’s investors, or otherwise misappropriated Plaintiff’s data, Plaintiff surely would have

discovered it during the forensic analysis and mentioned it front and center in the Complaint.

Instead, Plaintiff invents a grand conspiracy “upon information and belief” without any hard facts

or supporting evidence.


27 Ex. D-2 at pg. 5.
28 Ex. D-3.
29 Plaintiff’s Complaint at ¶ 44.
30 Ex. A at ¶ 6.
31 Plaintiff’s Complaint at ¶¶ 4, 48-57.


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        Regarding the forensic analysis, Plaintiff alleges that Luther obstructed the process and

spoliated information.32 Whereas the AnySignal claims are entirely baseless, these allegations are

objectively false and directly contrary to the evidence in Plaintiff’s possession. Luther’s counsel

exchanged at least 60 pages with Littler in the six months this dispute has been ongoing.33 From

the day the parties finalized the Forensic Protocol on January 31, 2024, to the day Littler went

radio silent on March 1, 2024, Luther’s attorney and Littler exchanged at least 61 emails with each

other and TransPerfect.34 Luther’s attorney exchanged even more emails directly with

TransPerfect. Further, Luther worked diligently to review the data and was waiting on Plaintiff

and TransPerfect to fix technical issues in order to finish.35

        Further, Plaintiff states that Luther wrongfully designated data as “attorneys’ eyes only.”36

This too is false. Pursuant to the agreed Forensic Protocol, all emails and related attachments that

contained an @cesiumastro.com email address would be automatically designated as

“confidential” and thereby shared with Plaintiff’s personnel, while everything else would be

automatically designated “attorneys’ eyes only.”37 The purpose was to ensure that Luther’s

personal data was protected from Plaintiff’s prying eyes. Per the Forensic Protocol, if Plaintiff

needed to show a file to its employees to determine whether it belonged to the company, Plaintiff’s




32 Id. at ¶¶ 58-65.
33 See generally, Exs. D-1, D-2, D-3, D-4, D-5, D-6, D-7, D-8, D-8. Plaintiff also accuses Luther of
delaying resolution, even though, to the extent there was material delay, Littler caused much of it. At several
points, Michael Royal went radio silent for weeks at a time. Compare Exhibits D-1 at pg. 1 and D-2 at pg.
6; Exhibits D-2 at pg. 1 and D-4 at pg. 4; see also, Exhibit D-2 at pgs. 1-3.
34 Exs. D-5, D-6, D-7, D-8, D-9.
35 Ex. D-9.
36 Plaintiff’s Complaint at ¶¶ 12, 39, 64-65.
37 Ex. E at ¶¶ 6-7; see also, Ex. D-8 at pgs. 7-8, 14, 18-19.


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counsel could ask Luther.38 Plaintiff apparently did not need Luther to downgrade any files for the

review given that Littler stated on February 23 that they had completed the review.39 Littler

nevertheless asked on February 29 whether Luther would downgrade all of the files to

“confidential” without stating a reason.40 Given that much of the data was personal and Plaintiff

had no right to it, Luther’s attorneys rejected the request but offered to consider downgrading

specific files if Plaintiff’s counsel sent a list.41 Plaintiff’s counsel sent a list of 49 files, again

without any justification for why they should be downgraded.42 Contrary to Plaintiff’s allegation

in paragraph 65 of the Complaint—in which Plaintiff blatantly mischaracterizes the email

exchange—Luther’s attorney responded: “I’ll take a look when I can, probably next week as I’m

prioritizing the initial review.”43 Plaintiff’s counsel never followed up.

         Plaintiff also emphasizes Luther’s supposed failure to produce a privilege log.44 Plaintiff’s

contention is, again, directly contrary to the evidence. Luther’s attorney communicated to

Plaintiff’s counsel on February 26 that he would a privilege log;45 Luther’s attorney was working

with TransPerfect to create one; and Plaintiff’s counsel never once asked about it.46

         Despite these indisputable facts, Plaintiff inexplicably abandoned the process and moved




38 Ex. E at ¶¶ 6-7.
39 Ex. D-8 at pg. 11.
40 Ex. D-8 at pgs. 1-5.
41 Id.
42 Id.
43 Id.
44 Plaintiff’s Complaint at ¶ 64.
45 Ex. D-8 at pg. 8.
46 See generally, Exs. D-6, D-7, D-8, D-9.


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forward with litigation.

                      IV.     REQUEST FOR JUDICIAL CONFERENCE

        Before being forced to continue wasting his family’s precious resources dealing with

Plaintiff’s seemingly-endless harassment and fabricated accusations, Luther asks the Court to

intervene now by conducting a conference with the parties to discuss the parties’ next steps and

Luther’s motions below. Luther is also aware that Plaintiff intends to seek expedited discovery. In

addition to being part and parcel of Plaintiff’s bad faith and harassment, authorizing expedited

discovery would give tacit legitimacy to Plaintiff’s frivolous claims. Further, any such discovery

is mooted by Luther’s Declaration which addresses every possible issue and would be redundant

to the remediation process that the parties already agreed to.

        In scheduling a judicial conference, Luther notes that the undersigned attorney’s wife is

currently in early labor and could deliver a baby at any moment, after which counsel plans to take

leave. Therefore, counsel humbly asks that the Court set the conference at least three weeks from

today and stay the case in the meantime. Waiting to conduct the conference may also have the

added benefit of allowing AnySignal the opportunity to participate.

                                      V.   MOTION TO STAY

        Luther further requests that the Court immediately stay this lawsuit and order Plaintiff to

re-engage in the forensic analysis and data remediation process according to the agreed Forensic

Protocol. Completing the remediation process—combined with Luther’s Declaration—should

more than satisfy any legitimate concerns Plaintiff may have regarding Luther’s potential use or

disclosure of its confidential information and trade secrets.47




47 Luther’s Declaration at ¶¶ 9, 13


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                         VI.      MOTION FOR RULE 11 SANCTIONS

        The conduct of Plaintiff and Plaintiff’s attorneys since Luther’s resignation, including their

unreasonable demands, baseless accusations, abandonment of the agreed-upon forensic process

despite Luther’s good faith cooperation, and pursuit of a facially frivolous lawsuit with allegations

that are baseless and contrary to the evidence in Plaintiff’s possession, clearly demonstrate that

Plaintiff is prosecuting this case in bad faith for the purpose of further harassing Defendant and

causing him unnecessary legal expenses in violation of Rule 11.

        Under Rule 11 and applicable Fifth Circuit precedent, the Court can impose sanctions if a

document has been presented for an improper purpose (e.g., to harass or to cause unnecessary

delay or expense) and if the factual contentions lack evidentiary support or are unlikely to have

evidentiary support after a reasonable opportunity for investigation or discovery.48 The Court also

has inherent power to impose sanctions for bad-faith conduct.49 Whether to impose sanctions is an

objective test determined by whether the attorney made a reasonable inquiry into the facts and law

before signing and presenting the offending document.50 The factors the Court may consider when

evaluating pre-filing conduct include (1) the time available for investigation; (2) the extent to

which the attorney relied on the client for facts; (3) the factual or legal complexity of the case; (4)

the feasibility of investigation; and (5) whether discovery is necessary.51

        All of the factors weigh in favor of sanctions. Plaintiff not only had more than enough time

to conduct an investigation, but spent more than six months actually doing so, including reviewing




48 E.g., Fed. R. Civ. P. 11(b); Mercury Air Grp. v. Mansour, 237 F.3d 542, 548 (5th Cir. 2011).
49 In re First City Bancorporation, 282 F.3d 864, 867 (5th Cir. 2002).
50 Fed. R. Civ. P. 11(b); Snow Ingredients, Inc. v. SnoWizard, Inc., 833 F.3d 512, 528 (5th Cir. 2016).
51 Thornton v. General Motors Corp., 136 F.3d 450, 454 (5th Cir. 1998).


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thousands of files obtained from Luther’s electronic devices and email accounts. Luther is not

aware of the extent to which Plaintiff’s counsel relied on Plaintiff for facts, but any such reliance

was unjustified considering counsel had access to hard evidence, including forensic data, prior

counsel’s emails and the Forensic Protocol. This case is not factually or legally complex and, even

so, Plaintiff’s attorneys have vast experience in the applicable legal areas according to their online

biographies. Finally, discovery is decidedly unnecessary given that, again, Plaintiff’s counsel had

access to forensic data, prior counsel’s emails and the Forensic Protocol.

       These facts, combined with Plaintiff’s overzealous pursuit of Plaintiff, unreasonable

demands, wild accusations, yawning evidentiary gaps, deliberate mischaracterizations of events

and communications, and unjustified abandonment of the forensic process demonstrate

unequivocally that Plaintiff filed this lawsuit in bad faith for an improper purpose without

evidentiary support. As such, Luther asks that the Court award him $16,200 in compensatory

sanctions against Plaintiff and Plaintiff’s counsel in reimbursement for the legal fees incurred in

responding to this lawsuit so far (approximately 30 hours at $540/hour) and an additional $5,000

in punitive sanctions to deter future misconduct.

                                 VII.    PRAYER FOR RELIEF

       Defendant requests the following relief:

       1.      That the Court conduct an emergency judicial conference;

       2.      That the Court stay this case and order Plaintiff to re-engage in the forensic analysis

and data remediation process;

       3.      That the Court award Defendant monetary sanctions against Plaintiff and Plaintiff’s

counsel; and

       4.      That Defendant be awarded any other and further relief, at law or in equity, to which



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he is justly entitled.

                                            Respectfully submitted,

                                            /s/ Collin K. Brodrick
                                            Collin K. Brodrick
                                            TX State Bar No. 24087212
                                            OGLETREE, DEAKINS, NASH,
                                                    SMOAK & STEWART, P.C.
                                            collin.brodrick@ogletree.com
                                            8117 Preston Road, Suite 500
                                            Dallas, TX 75225
                                            214-692-0168 (phone)
                                            214-987-3927 (fax)

                               CERTIFICATE OF SERVICE

       I hereby certify that on March 29, 2024, a true and correct copy of the foregoing document
was served via the Court’s ECF system on the following:

        David S. Almeling
        dalmeling@omm.com
        O’MELVENY & MYERS LLP
        Two Embarcadero Center
        28th Floor
        San Francisco, California 94111

        Kristin C. Cope
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        Dallas, Texas 75201

                                            /s/ Collin K. Brodrick
                                            Collin K. Brodrick




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          EXHIBIT A
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                                           UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                                  AUSTIN DIVISION

              CESIUMASTRO, INC.,                                 §
                                                                 §
                              Plaintiff,                         §
                                                                 §
              v.                                                 §   CASE NO. 1:24-CV-314
                                                                 §
              ERIK LUTHER and ANYSIGNAL, INC.,                   §
                                                                 §
                              Defendants.                        §


                                           DECLARATION OF ERIK LUTHER


                    1.       My name is Erik Luther. I am over 21 years of age, of sound mind, and otherwise

            competent to make this Declaration.

                    2.       I am currently the Head of Marketing at Saleae, Inc. I accepted an offer of

            employment from Saleae on August 20, 2021, and started on September 5, 2023. Saleae does not

            engage in any business activities that compete with CesiumAstro. In fact, Saleae is a supplier of

            CesiumAstro.

                    3.       I started working for CesiumAstro as its “Director of Business Development,

            Commercial Programs” in February 2021. I was eventually given the title of “Vice President of

            Product.” My roles centered on marketing and business development. In carrying out my duties

            and responsibilities on CesiumAstro’s behalf, my team and I routinely used flash drives and other

            mobile storage devices as we attended events and gave presentations. I also took photos of our

            marketing activities for the website and other purposes. I was told by the company to use my

            personal cell phone for work purposes. To the extent I used my personal electronic and data storage

            devices for work, it was solely to carry out my duties and responsibilities as a CesiumAstro

            employee to benefit the company.


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                    4.       During my employment at CesiumAstro, I did not ever intentionally copy or retain

            any information, documents, files, or other materials belonging to CesiumAstro, or use my

            personal email or cloud accounts, for any purpose other than to carry out my duties and

            responsibilities as a CesiumAstro employee and for the company’s benefit.

                    5.       During and following my employment at CesiumAstro, I have complied with all of

            my obligations under the Proprietary Information and Inventions Agreement (“PIIA”) and other

            legal obligations in good faith to the best of my ability, including refraining from any

            communications with several longtime friends and contacts in the industry or any communications

            with CesiumAstro customers, employees, investors or potential investors, to avoid even the

            appearance of impropriety. I have never intentionally violated any of my contractual or legal

            obligations to CesiumAstro. I have never, at any point during or after my employment at

            CesiumAstro, in any form or fashion, directly or indirectly, knowingly disclosed any of

            CesiumAstro’s proprietary information or trade secrets to any CesiumAstro competitor, or used

            any of CesiumAstro’s proprietary information or trade secrets to benefit my personal interests,

            benefit a CesiumAstro competitor, or in any way harm CesiumAstro.

                    6.       I resigned my position at CesiumAstro on August 21, 2023. In my resignation letter,

            I stated that my last day of employment would be on September 1, 2023. CesiumAstro instead told

            me my employment would end immediately. I was not prepared for such a rapid exit from the

            company. I had been working hard late on Friday, August 18 and early on August 21 to quickly

            complete outstanding tasks, including updating an investor pitch presentation, and to organize files

            and actions to assist my team with the transition. I performed these tasks solely to benefit

            CesiumAstro.

                    7.       At CesiumAstro’s request on August 21, I made several trips home to retrieve my



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            company laptop (which I primarily used outside the office because I had a desktop computer in

            the office) and any other property that belonged to the company. Before returning my company

            iPad—which, to my knowledge, did not contain any locally-stored company data—I reset the iPad

            solely in order to ensure my AppleID was disconnected and to protect my personal data. I returned

            everything that belonged to CesiumAstro that I knew of on that day and could reasonably discover

            given the rush.

                    8.        I asked CesiumAstro to narrow the language of the non-competition restrictive

            covenant in the PIIA not because I wanted to work for a competitor, but because—per the advice

            of an attorney I consulted—the covenant’s language is so broad that it could potentially encompass

            even companies that merely supply components for products that are competitive with

            CesiumAstro’s products. I did not at any point seriously consider going to work for a competitor.

            Upon CesiumAstro’s refusal to narrow the language, I immediately abandoned pursuit of any

            potential jobs to which the non-competition covenant could reasonably apply. Again, I wanted to

            avoid even the appearance of impropriety.

                    9.        Immediately following my resignation, I attempted to exercise an option to

            purchase shares of CesiumAstro stock per my Stock Purchase Agreement and other related

            contracts with CesiumAstro. I sent CesiumAstro the necessary paperwork and the requisite

            $11,000 check in late August 2023. My attorney and I followed up with CesiumAstro many times

            regarding the status of the option transaction without any response. CesiumAstro finally sent me a

            letter on November 17, 2023, in which CesiumAstro stated that, because of supposed

            “misconduct,” it would refuse to process my option transaction, thereby depriving me of stock

            potentially worth hundreds of thousands of dollars to which I am rightfully entitled.

                    10.       After receiving a letter from Michael Royal at Littler Mendelson dated August 31,



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            2023, I attempted to cooperate in good faith with CesiumAstro to return/remediate any files or

            other property belonging to CesiumAstro that might have been in my possession, custody, or

            control, while also attempting to assert my right to exercise my stock option and protect my

            personal data. As such, I immediately conducted an initial search of my emails, photos, and other

            locations and, upon discovering data that may belong to the company, I sent a letter on September

            5, 2023, to Mr. Royal disclosing them and asking for next steps. Upon retaining counsel, and after

            Mr. Royal sent a list of data storage devices that had allegedly been connected to my company

            laptop, I performed another search in October 2023 and discovered three data storage devices that

            I had inadvertently overlooked during my initial search. I did not find any physical documents that

            belong to CesiumAstro in my searches. My understanding is that my attorney offered to remit the

            devices to CesiumAstro for analysis by a third-party forensic examiner in conjunction with a sworn

            declaration attesting to the diligent searches and repeatedly demanded that CesiumAstro process

            my stock purchase. CesiumAstro refused these offers instead demanding that I turnover all of my

            personal electronic devices for analysis and ignored my and my attorney’s repeated demands to

            process my stock purchase. CesiumAstro eventually curtailed its outrageous demand and agreed

            to only analyze the devices and accounts that contained potential company data, which led to the

            agreed forensic protocol. While I accessed my electronic devices, email/cloud accounts and

            various file folders therein as part of my searches, I have not accessed any of the files themselves

            since resigning from CesiumAstro. To the extent I accessed any of the files prior to my resignation,

            it was solely to carry out my duties and responsibilities as a CesiumAstro employee to benefit the

            company.

                    11.      In compliance with the forensic protocol that CesiumAstro agreed to, I sent my

            attorney every electronic device in my possession, custody, or control that contained files that



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            might belong to CesiumAstro, which my attorney turned over to TransPerfect—the third-party

            forensic analysis firm engaged by CesiumAstro. I also gave TransPerfect access to every email

            account that might contain files belonging to CesiumAstro. To the best of my knowledge,

            TransPerfect is currently in possession of, or has access to, every electronic device and database

            that might contain files belonging to CesiumAstro.

                    12.      It is my understanding that, pursuant to the forensic protocol that CesiumAstro

            agreed to, TransPerfect analyzed all of the devices and data that I turned over. CesiumAstro’s

            attorneys then reviewed the data to evaluate which files, in their opinion, belonged to CesiumAstro.

            Based on my initial review of the files that CesiumAstro’s attorneys identified, the majority were

            marketing-related photos, footage for an investor promotional video, or emails and videos

            exchanged with my teenage son as part of his company-approved volunteer support of

            CesiumAstro as an on-site photographer and video editor, none of which contained proprietary

            information or trade secrets.

                    13.      During my employment, I was instructed by the CEO, Shey Sabripour, to send

            proprietary information to my personal mobile device on more than one occasion because he

            regularly used text messages to send attachments with confidential and proprietary markings to

            third parties. For example, the file entitled CesiumAstro_FORD_March_2023-Proprietary.pdf was

            sent from my work email to my personal email on April 22, 2023, at his specific and urgent request

            (while he was sitting next to me), enabling me to send him the file as a ‘text message attachment’

            so that he in turn could send it on to a third party via text message. I did this on very rare occasions

            and only to the benefit of CesiumAstro with explicit or tacit knowledge and approval.

                    14.      I am aware that CesiumAstro identified through forensic analysis multiple

            electronic devices that were connected to my company laptop at some point that are now



                                                               5
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            unaccounted for. I do not know where they are, what they are, or if they were ever in my

            possession, custody, or control. I can only speculate that the missing devices were flash drives or

            camera memory cards that were used by me and/or another employee with access to my computer

            to facilitate the many marketing events and presentations that my team and I conducted. For all I

            know, the devices are currently in the possession of CesiumAstro or its employees.

                    15.      CesiumAstro’s allegations of illegal conduct against me related to AnySignal are

            entirely fabricated and lack any legitimate basis. In August 2023, I exchanged limited

            communications and had a meeting with John Malsbury—the CEO of AnySignal, Inc. whom I

            have known for many years and had not talked to in at least 12 months—and others at AnySignal.

            Prior to the meeting, I did not know anything about John’s new venture. All of the emails I

            exchanged with AnySignal have been turned over to TransPerfect and were reviewed by Littler

            prior to this lawsuit. AnySignal did not at any point share with me any proprietary information or

            trade secrets regarding AnySignal’s business plans or research and development efforts, except to

            insist that AnySignal did not plan to compete with CesiumAstro’s products or services. Nor did I

            at any point, in any form or by any method, directly or indirectly knowingly disclose or otherwise

            communicate any CesiumAstro confidential, proprietary, or trade secret information to anyone

            associated with AnySignal. I have not communicated with anyone associated with AnySignal since

            August 20, 2023. I have never performed any work or taken any actions whatsoever on behalf of

            or to benefit AnySignal.

                    16.      CesiumAstro’s overzealous enforcement of the PIIA and false accusations have

            caused me and my family immense emotional distress, including loss of sleep and other physical

            symptoms. CesiumAstro’s actions have also forced me to incur more than $17,000 in legal

            expenses, which has caused extreme strain on my family’s finances.



                                                             6
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                    17.      It is my belief, based on my experiences at CesiumAstro and countless interactions

            with Mr. Sabripour, that CesiumAstro is pursuing me so aggressively, not for any legitimate

            purpose, but to exact vengeance for my leaving the company, to bully me, and to find any excuse

            possible to intimidate its competitors.

                       I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.
                           3/29/2024
            Executed on                                      .



                                                             ERIK LUTHER




                                                                 7
                                                                                             61465046.v6-OGLETREE
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           EXHIBIT B
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                                                                      Littler Mendelson P.C.
                                                                      2001 Ross Avenue
                                                                      Suite 1500, Lock Box 116
                                                                      Dallas, TX 75201.2931



                                                                      Michael P. Royal
                                                                      214.880.8160 direct
                                                                      214.880.8100 main
                                                                      214.593.4141 fax
                                                                      mroyal@littler.com


August 31, 2023



Via Email (eluther22@hotmail.com) and FedEx

Mr. Erik Luther
3902 Valley View
Round Rock, TX 78681

          Re:    Post-Employment Legal Obligations to CesiumAstro, Inc.

Dear Mr. Luther:

This firm represents your former employer, CesiumAstro, Inc. (“Cesium”). We are writing to you
because it has come to Cesium’s attention that you may have engaged in conduct that would
constitute a direct violation of your contractual, statutory and/or common law obligations to
Cesium.

On or about December 27, 2020, you entered into a Proprietary Information and Inventions
Agreement with Cesium (the “Agreement”). I have enclosed a copy of your Agreement for your
convenience.

As you are aware, your Agreement includes multiple binding post-employment contractual
promises and agreements by you, i.e., your agreement:

          • to hold Cesium’s Proprietary Information and Third Party Information (as those phrases
          are defined in the Agreement) in the “strictest confidence,” and not to use or disclose such
          information (See Section 2); and

          • to return all of Cesium’s Proprietary Information, Third Party Information, Inventions
          and all other Cesium property to it at the time of your termination of employment (See
          Section 7); and

          • for a period of twelve (12) months after your termination of employment from Cesium,
          to avoid engaging in certain acts of solicitation of, and/or interference with, a Customer (as
          that term is defined in the Agreement) of Cesium (See Section 5.2); and




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Mr. Erik Luther
August 31, 2023
Page 2



          • for a period of twelve (12) months after your termination of employment from Cesium,
          to avoid engaging in the articulated acts of solicitation of, and/or interference with, certain
          employees and contractors of Cesium (See Section 5.3); and

          • for a period of twelve (12) months after your termination of employment from Cesium,
          to avoid engaging in certain acts of competition with Cesium (See Section 5.4); and

          • for a period of twelve (12) months after your termination of employment from Cesium,
          to promptly disclose any new employment to Cesium in writing, and to provide any new
          employer with a copy of the Agreement (See Section 5.4).

In connection with your resignation of employment, it is my understanding you requested certain
modifications of the post-employment contractual restrictions in your Agreement, which Cesium
denied. In order to ensure absolute clarity on this issue, please be advised Cesium has not agreed
to modify any of the terms of the Agreement and intends to vigorously enforce all post-
employment contractual promises and agreements made by you, to the full limits of applicable
laws. Stated alternatively, Cesium expects your full compliance with all of the terms and
conditions of your Agreement, as well as your common law and statutory obligations to Cesium.

Cesium also demands that you immediately return all Cesium Proprietary Information, Third Party
Information, Inventions, and other Company Property (as discussed in Section 7 of the Agreement)
that are in your custody, possession or control, including any in electronic form. If you have any
Cesium documents or information in hard copy form, please immediately make arrangements to
deliver them to my attention at the Littler Mendelson P.C. office located at One Congress Plaza,
100 Congress Ave. Suite 1400, Austin, Texas 78701 during business hours. If you have any
Cesium documents or information in electronic form, please immediately advise me where and
how the documents or information are stored, so that we can address a procedure for providing
copies to Cesium and then deleting them from your devices or accounts. Please do not delete any
Cesium documents or information until we have agreed on a process for doing so, as deleting
potentially relevant documents could be considered a violation of the legal duty to preserve
evidence. Please provide this information and documentation to me by no later than 5:00 p.m. on
Wednesday, September 6, 2023, or confirm in writing by no later than 5:00 p.m. on Wednesday,
September 6, 2023, that you are not in possession, custody, or control of such documents or
information and you have not yet—and will not—disclose or use any Proprietary Information of
Cesium in violation of your Agreement.

Lastly, you are hereby requested and put on notice of your obligation to not destroy, conceal,
or alter any relevant paper or electronic files, communications, documents and/or any other
relevant data or information (including, but not limited to, all letters, emails, electronic
messages, papers, files, notes, diaries, calendars, records, lists, cloud storage, etc.):

          (1) relating to your employment with Cesium (or resignation therefrom);



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Mr. Erik Luther
August 31, 2023
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          (2) obtained by you during your employment with Cesium;

          (3) relating to your recruitment or employment by Saleae, Inc.;

          (4) relating to your recruitment or employment by any competitor of Cesium;

          (5) related in any way to the business, product, services, ownership or management
          activities you have performed on behalf of or for Saleae, Inc.;

          (6) related in any way to the business, product, services, ownership or management
          activities you have performed on behalf of or for any competitor of Cesium;

          (7) related to or constituting your contacts/communications to/from any Cesium
          employee, prior to and/or after the resignation of your employment relationship with
          Cesium;

          (8) related to or constituting your contacts/communications to/from any of Cesium’s
          Customers (as that term is defined in your Agreement) prior to and/or after the
          resignation of your employment relationship with Cesium;

          (9) related to or constituting your contacts/communications to/from Saleae, Inc. prior
          to and/or after the resignation of your employment relationship with Cesium, and/or

          (9) related to or constituting your contacts/communications to/from any competitor
          of Cesium prior to and/or after the resignation of your employment relationship with
          Cesium.

You are likewise instructed to IMMEDIATELY DISABLE ALL AUTOMATIC DELETION
AND ARCHIVE SETTINGS on your computer(s), tablet(s), phone(s) and other electronic
devices to ensure all texts, emails, electronic messages, and other electronic information are
preserved. Applicable law prohibits the destruction of paper or electronic evidence that may
be relevant to anticipated litigation or that may lead to the discovery of admissible
evidence. Should this matter result in litigation, and should you fail to comply with this
notice, you may be subject to severe sanctions, which would be imposed by a court of
competent jurisdiction upon a finding that you had engaged in an act of spoliation of
evidence.

This letter does not waive or relinquish any right, remedy or privilege Cesium may have, at law or
in equity, against you and/or others for any unlawful conduct. To the contrary, Cesium intends to
vigorously enforce and protect all of its rights and interests. In this regard, while we would like to
trust that you will honor your obligations to Cesium, please consider this letter as clear notice that,
if necessary, Cesium will pursue all remedies available to it upon the first indication of your
violation of any of the terms of the Agreement. Therefore, if you fail or refuse to timely respond


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Mr. Erik Luther
August 31, 2023
Page 4



to this letter, and fail or refuse to cease and desist any unlawful activities, then Cesium is prepared
to file a lawsuit against you and perhaps others seeking a restraining order to enjoin such unlawful
activities, and to recover actual and punitive damages, as well as Cesium’s attorneys’ fees.

We look forward to hearing from you regarding the return of Cesium’s Company Property and
Proprietary Information, as well as the other issues addressed above regarding your continuing
obligations to Cesium under the Agreement. Your prompt attention to this matter is appreciated.

Sincerely,



Michael P. Royal
Shareholder

MPR/ps
Enclosure




4890-2643-9037.1 / 120778-1002




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          EXHIBIT C
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September 5,
September 5, 2023
             2023

Via Email
Via Email ((PSamuels@littler.com and MRoyal@li;ler.com)
            PSamuels@li+ler.com and  MRoyal@littler.com)

Li;ler
Littler Mendelson
        Mendelson P.C.
                   P.C.
201  Ross Avenue
201 Ross  Avenue
Suite 1500,
Suite  1500, Lock
             Lock Box 116
                  Box 116
Dallas, TX 75201.2931
Dallas, TX 75201.2931

Re:
Re: Response to Post-Employment
    Response to Post-Employment Legal
                                Legal ObligaTons  to CesiumAstro
                                      Obligations to CesiumAstro Inc.
                                                                 Inc.

Dear
Dear Mr. Royal:
     Mr. Royal:

As II indicated
As    indicated to
                 to CesiumAstro
                    CesiumAstro on
                                on multiple
                                   mulTple occasions:  To my
                                            occasions: To  my knowledge
                                                              knowledge II have not violated
                                                                           have not violated the
                                                                                             the
Proprietary Information
Proprietary   InformaTon and
                          and Inventions
                              InvenTons Agreement
                                         Agreement (the
                                                    (the “PIIA”)
                                                         "PITA") signed
                                                                 signed December
                                                                        December 27,
                                                                                 27, 2020.
                                                                                     2020.

It is
It     not my
   is not  my intent
                intent toto retain
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                                    any CesiumAstro
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                                                         property, proprietary    informaTon, third
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                                                                                                      party
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information,   etc. II have
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                                                                 NOT to   use personal
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                                                                                                  (cloud or
                                                                                                         or
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otherwise) for    any conﬁdenTal      or sensiTve
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                                                                                         by CesiumAstro’s
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                              were serving
                                     serving sensiTve
                                              sensitive government
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                would like to delete.
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               do not            request. Please
                      delete..." request.           let me
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                                                            know next  steps.

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            consist of:
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             iPhotos, 22    Short Videos:
                        22 Short    Videos: (tradeshows,
                                              (tradeshows, conferences,
                                                              conferences, selﬁes,
                                                                             selfies, etc)
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                                CesiumAstro folder
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   -- 21   iNotes: mostly
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                               consisting ofof todo-lists
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                                                           and reminders.
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            o Placed
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                                CesiumAstro folder
                                                folder
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                                                                                                      account:
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                                                                                for manpower
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                                                                    Hotmail
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                  the other
                       other parts
                             parts of  the le;er.
                                    of the letter. II am
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                                                                       by the aggressiveness of   the language.
                                                                                               of the  language.
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                               obligations to                CesiumAstro interests
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                                                                                       seriously. Honestly,
                                                                                                  Honestly, mymy
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                         predatory, or          restricTve pracTces.
                                         overly restrictive    practices.

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           step, please let me
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                                                                                     of the
                                                                                        the files
                                                                                            ﬁles
men7oned aboye.
mentioned    above.

Thank you,
Thank you,

Erik Luther
Erik Luther
512.680.1736
512.680.1736
eluther22@hotmail.com
eluther22@hotmail.com
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       EXHIBIT D-1
                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 47 of 140


Brodrick, Collin K.

From:                                 Brodrick, Collin K.
Sent:                                 Thursday, September 7, 2023 2:55 PM
To:                                   Royal, Michael
Subject:                              Re: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]


Tuesday at 2:00 would be better if that works?

Collin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692-0168



       On Sep 7, 2023, at 12:37 PM, Royal, Michael <MRoyal@littler.com> wrote:



           [Caution: Email received from external source]



       Collin,

       Hello.

       I would welcome the opportunity to speak with you on Monday afternoon. Among other issues, I would like to discuss is the retrieval
       of certain electronic data, which Eric has stated he is still in possession of. Please let me know what time works best for you on
       Monday – perhaps 2:00 p.m.? Please advise.

       Thank you.

       Michael

       Michael Royal
       Shareholder
       214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax

                                                                                  1
                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 48 of 140

MRoyal@littler.com


<image001.png>


<image002.png>


Labor & Employment Law Solutions | Local Everywhere
2001 Ross Avenue, Suite 1500, Lock Box 116, Dallas, TX 75201-2931
From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Thursday, September 7, 2023 9:52 AM
To: Royal, Michael <MRoyal@littler.com>
Subject: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]


[EXTERNAL E-MAIL]



Michael,

Ogletree Deakins represents Erik Luther in response to the cease and desist letter you sent on behalf of CesiumAstro, Inc. I am out of town this
week, but I have fairly open availability next week if you want to have a call to discuss. Let me know what works for your schedule.

Best,


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | www.ogletree.com | Bio




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                                                                                                     2
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separate legal entities.




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       EXHIBIT D-2
                                     Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 51 of 140


Brodrick, Collin K.

From:                             Brodrick, Collin K.
Sent:                             Monday, October 30, 2023 11:26 AM
To:                               Royal, Michael
Subject:                          RE: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL]


Good morning Michael,

I wanted to follow up on my email below, as well as touch base on Mr. Luther’s equity purchase. As I indicated during our initial call in early September, Mr.
Luther sent the necessary paperwork and payment to exercise his equity purchase option at the end of August. That transaction still has not been processed nor
has the check been cashed. Mr. Luther says other employees have seen their options purchases processed within two weeks. It has now been two months for
Mr. Luther. I assume CesiumAstro will consummate the transaction soon given that any refusal to do so would violate the applicable contract and federal law.

Best,


Collin K. Brodrick | Ogletree Deakins
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From: Brodrick, Collin K.
Sent: Monday, October 16, 2023 1:08 PM
To: Royal, Michael <MRoyal@littler.com>
Subject: RE: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]

If you mean the types of devices, Mr. Luther is prepared to hand over two USB flash drives and an external hard drive. After a diligent search, Mr. Luther located
one drive that was on your prior list, which I believe you said were flash drives that had been plugged into Mr. Luther’s company computer during an unspecified
period of time prior to his resignation. He did not locate any of the other three flash drives, but speculates they may have been among the drives he turned in on
his last day, may be camera memory cards, or could be drives used for storing the presentations his team gave on the road. Either way, he doesn’t have them.

Mr. Luther also located an external hard drive with video files CesiumAstro was planning to use for a public-facing video and a flash drive with three files he had
to print at Office Depot. He has not used either of these drives in more than six months.

Mr. Luther also searched for any other electronic devices and physical files, but did not locate anything belonging to CA. He also said he did not use any cloud-
based systems like Google Drive for work given CesiumAstro’s information security policies.
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I also have a forensic protocol I use, but I’m happy to review your language.


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From: Royal, Michael <MRoyal@littler.com>
Sent: Monday, October 16, 2023 10:10 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]

[Caution: Email received from external source]



Collin,

Good morning.

Please send me the list of the electronic data sources that would be included in the forensic protocol. We have a form of protocol that we use for
these types of situations. Thank you.

Michael

From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Saturday, October 14, 2023 12:09 AM
To: Royal, Michael <MRoyal@littler.com>
Subject: Re: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]

Good evening Michael,

Following up on the below correspondence, Mr. Luther will voluntarily submit relevant devices he has located after a diligent search to a third-party forensic
examiner pursuant to an agreed forensic protocol, so long as CesiumAstro agrees to pay for it. Let me know if this is agreeable and we can talk about next steps.

Best,


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                                    Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 53 of 140
Collin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692-0168


       On Oct 5, 2023, at 11:12 AM, Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com> wrote:


       Michael,

           1. Mr. Luther and I both understand our obligations to preserve evidence. I’m not sure why you felt the need to repeat them in such
              caustic terms, but I can confirm that Mr. Luther is not destroying evidence.
           2. I don’t appreciate you lodging unfounded accusations. The more this goes on, the more it appears Cesium is simply harassing Mr. Luther
              and trying to unnecessarily run up costs and/or find an excuse to file suit. It’s not my practice to spend thousands of dollars forensically
              searching or imaging electronic devices unless absolutely necessary. Here, that is not necessary given the facts. As I said in my previous
              emails, I’m still working on Cesium’s request to have his devices forensically analyzed at Cesium’s expense. I have a call with him on
              Tuesday to discuss.
           3. Mr. Luther has not stated any intent to compete with Cesium. In fact, he (and I) have repeatedly stated the opposite. Mr. Luther is
              currently working at an entity that in no way competes with Cesium, he has stated several times his intent to abide by his restrictive
              covenants and cooperate with Cesium (to the extent Cesium will be reasonable), and, as I’ve said repeatedly, he actually wants Cesium
              to succeed because of his equity interest. That he had conversations with other companies that ultimately went nowhere is not evidence
              of an intent to compete, but the opposite.
           4. Not that it’s any of your business, but Mr. Luther is paying my legal fees personally, which is why I’m doing my best to keep this matter
              as simple as possible. As with all clients, but especially Mr. Luther, I am very cognizant of costs. Your completely unfounded accusation
              that there’s a third party paying only is further evidence of rampant paranoia on your side.
           5. As we’ve said repeatedly, we are willing to cooperate because Mr. Luther has done absolutely nothing wrong. But Cesium needs to be
              reasonable in its demands and refrain from antagonizing rhetoric. You could file a lawsuit, but you and I both know that there are zero
              facts to support a TRO and Mr. Luther would have an argument to recover his attorneys’ fees. Please dial down the counterproductive
              bombast so we can get this done as quickly and efficiently as possible.

       Best,


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       collin.brodrick@ogletree.com | www.ogletree.com | Bio




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From: Royal, Michael <MRoyal@littler.com>
Sent: Thursday, October 5, 2023 8:51 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]
Importance: High


[Caution: Email received from external source]



Collin,

Good morning.

A couple of observations:

First, Mr. Luther should NOT be deleting or destroying ANY information. We expressly put him on notice of his obligation to avoid
spoliation in the initial cease and desist letter to him (which duty he acknowledged an understanding of in his September 5, 2023,
letter to me). As you responded to my letter, you also recognized that, as his counsel, you too had a legal obligation to assist Mr.
Luther in meeting his obligation to avoid acts of spoliation and/or to secure his documents and electronic data. CesiumAstro may or
may not have a copy such documents/information in its possession (e.g., if Mr. Luther has the only copy or deleted same from
CesiumAstro’s computers), so it is imperative that this issue be addressed asap. Please immediately confirm that Mr. Luther has
not, and will not, destroy or delete any potentially relevant data. If he has done so, please provide me with a specific inventory
of the exact information and documents that have been destroyed or deleted asap.

Second, based on your response below, I am extremely concerned you have failed to take any steps to (1) identify and secure Mr.
Luther’s electronic devices, (2) make a forensic image of such electronic devices, (3) direct Mr. Luther to immediately disengage any
auto-delete programs, and/or (4) even engage in the most basic of litigation-hold activities to avoid spoliation, e.g., asking Mr. Luther
to search for and turn over any hard-copies of documents he may have in his possession to you. If accurate, your failure to engage in
these basic litigation-hold steps could obviously result in liability for you and your firm, e.g., if we subsequently learn Mr. Luther has
continued to utilize the referenced electronic devices (which likely overwrites certain data and meta-data every time Mr. Luther uses
the devices).

Third, shortly after you sent me this email (at 2:22pm), you sent me a separate email in which you stated you hoped CesiumAstro “can
find a way to dial down the paranoia.” Such a disparaging comment is not only offensive and unprofessional, but will likely result in
harm to your client’s interests. In this matter, Mr. Luther expressly stated he intends to compete with CesiumAstro and/or may
already be doing so (PER YOUR STATEMENT – Mr. Luther had multiple interviews with and/or offers of employment from
multiple competitors of CesiumAstro at the time of his resignation – which would have directly violated his non-compete), and Mr.
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Luther has already admitted (in his September 5, 2023 letter to me) he is in possession of CesiumAstro business information. We also
are aware Mr. Luther is in possession of additional CesiumAstro business information, beyond the information he admitted to
possessing in his September 5, 2023, letter to me. Moreover, in his correspondence Mr. Luther stated, “I do not have the financial
resources to defend myself.” So, the mere fact that Mr. Luther was able to retain a firm such as yours, which he would not have the
financial resources to pay for, indicates a competitor (or some other entity who desires to misappropriate CesiumAstro’s proprietary
information) has agreed to pay for Mr. Luther’s legal expenses, i.e., to ensure it is able to utilize the CesiumAstro business information
retained by Mr. Luther to unfairly compete.

In light of the foregoing, at this juncture, Mr. Luther has two options. Option one, work collegially with us to identify, secure and
fully remediate all CesiumAstro business information in his possession (in hard-copy and electronic form) and ensure his strict
compliance with all of the terms of his agreement with CesiumAstro. Option two, we will sue Mr. Luther, request an immediate
restraining order, and engage in the necessary forensic discovery activities as part of the lawsuit.

Please let me know as soon as possible whether Mr. Luther desires to pursue the collegial or adversarial route to a resolution of these
issues. If Mr. Luther is willing to engage in a collegial effort to resolve these issues, then I will arrange a call with one of my e-
Discovery partners, who can guide us through this process. If we do not hear back from you this week, or if Mr. Luther is not willing
to voluntarily participate in the requested remediation activities, then we will understand we have no choice but to sue Mr. Luther to
protect CesiumAstro’s interests.

Thank you for your prompt attention to these issues.

Michael


From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, October 4, 2023 2:11 PM
To: Royal, Michael <MRoyal@littler.com>
Subject: RE: CesiumAstro, Inc. / Erik Luther [ODNSS-OGL.107736.000001]


[EXTERNAL E-MAIL]



Hi Michael,



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I’ll discuss the flash drives with Mr. Luther and get back to you. I’m sure there’s an innocent explanation. As for a third-party forensic analysis of
his devices, that’s completely unnecessary on these facts. Again, as I mentioned on our prior call, Mr. Luther is willing to conduct a diligent
search for confidential information and destroy, or in the case of electronic data permanently delete, everything he finds, and sign a sworn
declaration. If Mr. Luther is persuaded to allow the analysis, CesiumAstro would obviously have to pay for it.

Best,


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From: Royal, Michael <MRoyal@littler.com>
Sent: Tuesday, October 3, 2023 11:45 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: CesiumAstro, Inc. / Erik Luther


[Caution: Email received from external source]



Collin,

Good morning.

I’m following up on our discussions regarding Mr. Luther’s departure from CesiumAstro. Our forensic analysis revealed that over the
final weeks of his employment, Mr. Luther attached the following devices to his CesiumAstro issued laptop computer:

          •   NORELSYS 1081CS0 USB Device: Serial #: 0123456789ABCDE&0
          •   USB DISK 3.0 USB Device: Serial #: 070D1A97EA450E48&0
          •   USB DISK 3.0 USB Device: Serial #: B429E380D147EA&&&0
          •   Generic Flash Disk USB Device: Serial #: D59648DC&0

Unfortunately, at the end of his employment with CesiumAstro, he did not return any of these USB devices. Accordingly, we ask that
they immediately be returned to me for a forensic review. Once you have the USB devices in your possession, I will send a runner to
retrieve them from your office.


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Additionally, please let us know what steps have been taken to preserve these devices, as well as any other computers and cloud-based
accounts used by Mr. Luther.

Finally, we need to discuss with you a forensically sound manner to remove CesiumAstro files from Mr. Luther’s computer(s), email
account(s) and USB drives. We envision retaining a third-party, neutral forensic expert to assist us with this process. The forensic
expert would need access to Mr. Luther’s devices and accounts to search for and permanently delete CesiumAstro’s
information. Further, we envision that this process would occur pursuant to a mutually agreeable protocol between the parties. Please
let me know when you would be available to discuss the proposed protocol in greater detail.

Thank you.

Michael

Michael Royal
Shareholder
214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax
MRoyal@littler.com

<image001.png>

<image002.png>


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       EXHIBIT D-3
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Brodrick, Collin K.

From:                               Brodrick, Collin K.
Sent:                               Wednesday, October 4, 2023 2:22 PM
To:                                 Royal, Michael
Subject:                            RE: CesiumAstro/Erik Luther (LinkedIn activity) [ODNSS-OGL.107736.000001]


Liking a LinkedIn post does not come close to a violation of the non-solicitation clause. Mr. Luther is well aware of his legal obligations and has refrained from
any activity that may even appear like he might be violating his agreement. As I stated on our call, far from a desire to hurt CesiumAstro or give them any excuse
whatsoever to file what would be a frivolous (and sanctionable) lawsuit, Mr. Luther wants them to succeed so that his stock continues to increase in value. I
hope your client can find a way to dial down the paranoia.


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From: Royal, Michael <MRoyal@littler.com>
Sent: Tuesday, October 3, 2023 12:04 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: CesiumAstro/Erik Luther (LinkedIn activity)

[Caution: Email received from external source]



Collin,

Hello.

I wanted to address an issue that recently came to our attention. Specifically, it appears Mr. Luther has been interacting with one of CesiumAstros’
customers on a business platform in a manner that is intended to maintain and/or expand upon the goodwill he was exposed to while employed by
CesiumAstro, to CesiumAstro’s competitive detriment. As you are aware, Section 5 of Mr. Luther’s Proprietary Information and Inventions
Agreement precludes such activities. Mr. Luther’s actions are particularly troubling, as our investigation in to whether Mr. Luther is currently
competing with CesiumAstro and/or is using or has disclosed its confidential information is ongoing.


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We respectfully request that Mr. Luther comply with both the express letter and intent of his PIIA agreement. If we become aware of any additional
issues such as this, we will not hesitate to take all necessary actions legally available to the company to protect its interests.

Michael

Michael Royal
Shareholder
214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax
MRoyal@littler.com




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       EXHIBIT D-4
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Brodrick, Collin K.

From:                             Brodrick, Collin K.
Sent:                             Monday, November 13, 2023 4:50 PM
To:                               Royal, Michael
Subject:                          RE: CesiumAstro/Luther [ODNSS-OGL.107736.000001]


Michael,

Following up on our emails below, Mr. Luther will agree to turn over his personal electronic devices and allow access to his personal email and cloud-storage
accounts to a third-party forensic examiner on the following conditions:
    1. The parties reach a mutually-agreeable forensic protocol that protects the confidentiality of Mr. Luther’s personal data.
    2. CesiumAstro pays for all expenses related to the examination, including the vendor and shipping.
    3. The parties enter into a confidential settlement agreement that includes:
            a. A general release by CesiumAstro of all claims, known or unknown, that it may have against Mr. Luther.
            b. A covenant by CesiumAstro not to sue Mr. Luther for any claims arising out of his employment agreement so long as he is in compliance.
            c. A notice and cure provision that requires CesiumAstro to notify Mr. Luther in detail of the basis for any potential claim it may have against him
                and to attempt to resolve the dispute in good faith before filing suit.
            d. A non-disparagement covenant by CesiumAstro.
    4. CesiumAstro must process Mr. Luther’s stock purchase transaction (in keeping with its contractual and ERISA obligations) and provide proof of same by
        11/17. Notably, I’ve asked you about this several times without any response.

These conditions are necessary to bring this dispute to a conclusion and so that Mr. Luther can be assured that CesiumAstro will not continue to unreasonably
increase its demands or file suit despite the lack of evidence and his cooperation. I also want to add the following to my response to some of your assertions:
     Mr. Luther never interviewed with any of CesiumAstro’s competitors. If CesiumAstro’s belief on this front is due to something I mistaken said during our
        initial communications, then I take responsibility. In any event, I sought clarification and Mr. Luther stated he was cautious to only interview with
        companies that were performing non-competitive work and asked CesiumAstro to waive his non-compete just to make doubly sure. He took the job at
        Salae to ensure CesiumAstro would have no basis for thinking he was violating his restrictive covenants.
     You alleged in your prior email that Mr. Luther sent proprietary information from his work email to his personal email. To the extent this assertion is
        based on Mr. Luther’s letter dated September 5, 2023, none of his disclosures could be used as a basis for suit given that Mr. Luther has been open
        about the information in his possession and consistent in his stated desire to delete the information.
     Mr. Luther did not AT ANY POINT tell CesiumAstro that he planned to compete. So far as we can tell, CesiumAstro is either deliberately mischaracterizing
        his communications or making this up out of whole cloth.

Given this, and given that Mr. Luther is working at a company and in a role that is not competitive with CesiumAstro, Mr. Luther has not had any contact with
any of CesiumAstro’s customers or employees and Mr. Luther has not used or disclosed any of CesiumAstro’s confidential or proprietary information, any lawsuit

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would be entirely meritless. I again suggest that CesiumAstro dial down the paranoia and its take-it-or-leave-it threats and agree to a reasonable resolution so
the parties can go their separate ways.

Best,


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From: Brodrick, Collin K.
Sent: Thursday, November 9, 2023 8:46 PM
To: Royal, Michael <MRoyal@littler.com>
Subject: RE: CesiumAstro/Luther [ODNSS-OGL.107736.000001]

       As I’ve stated repeatedly, Mr. Luther would be happy to sign a sworn declaration regarding his diligent search and its results, along with his past and
        continued compliance with his restrictive covenants. He’s also willing to provide additional information regarding his current employment.
       He hasn’t failed to return any USB devices. He doesn’t know what devices the company is referring to, he didn’t find those devices or any other devices
        containing company information despite a diligent search, and you have no evidence that the devices belong to Mr. Luther. They’re probably in a drawer
        somewhere in CesiumAstro’s office. In any event, the mere fact that he plugged USB devices into his computer (which he did routinely as part of his
        employment) is not evidence of wrongdoing much less a sufficient basis to file suit.
       I’m not sure what you’re talking about when you say “he expressly told the company he intends to compete in the near future.” Please clarify.
       As I’ve also repeatedly stated, Mr. Luther is willing to comply with the company’s reasonable demands and I will take your request to him and get back
        to you. However, in my estimation, your demand that he turn all of his personal electronic devices is not reasonable and no court would order him to
        turn them over (and any such order would violate multiple SCOTX decisions).
       If you file suit on these facts and this evidence, and despite Mr. Luther’s reasonable cooperation, I’ll not only oppose the TRO (and win) but also seek
        Rule 13 sanctions.


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From: Samuels, Patricia <PSamuels@littler.com> On Behalf Of Royal, Michael
Sent: Thursday, November 9, 2023 6:03 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Royal, Michael <MRoyal@littler.com>
Subject: RE: CesiumAstro/Luther [ODNSS-OGL.107736.000001]
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[Caution: Email received from external source]



Collin:

The company has no confidence in Mr. Luther’s assertions that he has not engaged in any inappropriate conduct. He interviewed with competitors (despite the
fact he had a noncompete), he asked the company to immediately waive his noncompete obligations, he sent proprietary company information from his work
email to his personal email, he has failed to return three USBs (which were plugged in to his work computer near the end of his employment), he has former
coworkers and friends who have recently started a competing satellite communications company, and he expressly told the company he intends to compete in
the near future.

If Mr. Luther has nothing to hide, then the remediation process proposed should not be any reason for alarm. Stated alternatively, we have no intention to
debate these issues with Mr. Luther; therefore, there are two ways for this process to occur. Option 1: the easy way – where Mr. Luther agrees immediately to
cooperate with the company’s efforts to ensure the security of its information. Option 2: if Mr. Luther refuses to cooperate, then the company intends to
initiate litigation immediately and obtain this same information, and more from relevant third parties, through the discovery process.

Please let me know by November 17 which option Mr. Luther desires to pursue. If he will fully cooperate with us, then I will send you a proposed forensic
examination protocol for your review.

MR



From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Monday, November 6, 2023 8:41 PM
To: Royal, Michael <MRoyal@littler.com>
Subject: RE: CesiumAstro/Luther [ODNSS-OGL.107736.000001]


[EXTERNAL E-MAIL]



Michael,

         I’m not sure which USB device Mr. Luther found. I have the devices on my desk, but I’d rather not plug them into my computer to find out since it’ll
          create confusing metadata.
         I will not turn the devices over until we’ve agreed to a forensic protocol. I believe I asked for a draft in one of my prior emails, but never received one.
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         To my knowledge, Mr. Luther did not use any of his other devices for company business. As I’ve said previously, he took his data security obligations very
          seriously given the sensitive work CesiumAstro performs. Even so, just to be sure, he searched his devices, his cloud accounts and email accounts, for
          any company-related data and didn’t find anything. Therefore, there is no reason for him to turn over his other devices or to give a forensic analyst
          access to his personal accounts.

Please give me an update on CesiumAstro’s efforts to process Mr. Luther’s exercise of his stock purchase option. He sent the paperwork and check in August and
we have confirmation of delivery from USPS on September 2.

Best,


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From: Royal, Michael <MRoyal@littler.com>
Sent: Saturday, November 4, 2023 2:32 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: CesiumAstro/Luther

[Caution: Email received from external source]



Collin,

Hello.

I wanted to follow up on the remediation issues. From your email, it sounds like Mr. Luther has (i) two USB flash drives (one of which is on the list
below), and (ii) an external hard drive, which have the company’s information on them. Please identify which one of the USB flash drives listed
below is still in Mr. Luther’s possession.

•   NORELSYS 1081CS0 USB Device: Serial #: 0123456789ABCDE&0
•   USB DISK 3.0 USB Device: Serial #: 070D1A97EA450E48&0
•   USB DISK 3.0 USB Device: Serial #: B429E380D147EA&&&0
•   Generic Flash Disk USB Device: Serial #: D59648DC&0



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Also, please let me know if you have the three referenced devices at your office (or whether Mr. Luther still has possession of them). We would like
to send a runner to retrieve the three devices on Monday.

We likewise need to obtain a forensic image of Mr. Luther’s personal electronic devices, cloud storage, and personal email, which he owned or used
during his employment with the company, in order to verify whether any of the company’s information remains in Mr. Luther’s possession as of this
date (and if so, to permanently delete such information). This is especially important because the USB drive returned by Mr. Luther at the end of his
employment (with a volume serial number of 6CDA4891 and a physical serial number of 0E7329102050) was never plugged into either of the
computers he used while at CesiumAstro.

As a first step, we need you to identify the personal electronic devices, cloud storage, and personal email, which Mr. Luther owned or used during his
employment with the company, at your earliest convenience. Once we understand the type/quantity of electronic data sources, we will coordinate
with the forensic vendor to image same and perform applicable searches. The company will obviously pay for the forensic work addressed herein.

Thank you for your prompt attention to these issues.

Michael

Michael Royal
Shareholder
214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax
MRoyal@littler.com




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                                                                                                               5
                                   Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 68 of 140


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                                                                            6
Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 69 of 140




       EXHIBIT D-5
From: Brodrick, Collin K. <cotlin.brodrick@oglet reedeakins.com>
Sent : Monday, February 5, 2024 3:12 PM
To: Myers, Donald W.<DWMyers@litt ler .com>
cc: Royal, Michael <MRoyal@littler.com>
                                                 Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 70 of 140
Subj ect: RE: Return and remediation of CesiumAstro property remaining in Mr. Lut her's Possession (ODNSS-OGL.107736.CXXXXJl]

Tiffany is coming by this afternoon to pick up the devices. We're working on a scheduling a call for tomorrow to give her access to t he email and iCloud accounts.



Collin K. Brodrick I Ogletree Dea kins
8117 Preston Road, Suite 500 I Dallas, TX 75225 1Telephone: 214-692-0168
coNin-brodrick@ogletree.com I www og1etree.com 1.619.


From: Brodrick, Collin K.
Sent: Monday, February 5, 2024 11: 31 AM
To: Myers, Donald W . <DWMyers@littter.com>
Cc: Royal, Michael <MRoyal@littler.com>
subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (OONSS-OGL.107736.CXXXXJl]

I emailed Tiffany. Haven't heard back yet.



Collin K. Brod rick I Ogletree Deakin s
8117 Preston Road, Suite 500 I Dallas, TX 75225 1Telephone: 214-692-0168
coUin brodrick@ogletree com I www ogletree com 18.io


From: Myers, Donald W . <DW Myers@littler.com>
Sent: Monday, February 5, 2024 11:,30 AM
To: Brodrick, Collin K. <coUin.brodrick@ogletreedeakins.com>
Cc: Royal, Michael <MRoyal@littler.com>
subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (OONSS-OGL.107736.CXXXXJl]


                                                                                                                                                                                                                                   I

I' m fine either way Collin. Please let me know when you've spoken with TransPerfect as this was all supposed to have happened by last Friday.



Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 2 15.284.1318 mobile, 267.285.2797 fax
OWMyers@littler.com


Pronouns: He/Him



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From : Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent : Monday, February 5, 2024 11: 25 AM
To: Myers, Donald W . <DWM yers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (ODNSS-OGL.107736.CXXXXJl]


                                                                                                                                                                                                                                   I

Collin, I'll have a courier come over this morning to get the drives. Will you be in the office? If not, who should the courier ask for?

Don



Donald W. Myers
Shareholder - eOiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com


Pronouns: He/Him



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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Friday, February 2, 2024 6:09 PM
To: Myers, Donald W. <DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
subject: Re: Return and remediation of CesiumAstro property remaining In Mr. Luther's Possession (OONSS-OGL.107736.000001)

It's after 5 :00 and I' m not in the office. I will not be getting the d rives to her today. Tiffany's response did not indicate she was ready to execute the protocol. twill communicate with her Monday. Have a great weekend.

Collin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692-0168



        On Feb 2, 2024, at 4:59 PM, Myers, Donald W . <OWMyers@littler.com> wrote:



        [feoudon: Emo/I lffffWdfrom ~xttmOI SOtlttt]                                                                                                                                                                               I

        Collin, under the protocol, t he materials needed to be delivered today. Please have Mr. Luther deliver the materials.



        Sent from my iPho ne




                On Feb 2, 2024, at 4 :54 PM, Brodrick, COiiin K. <coUin.brodrick@ogletree.com> wrote:



                The only communication I've had from or wtth TransPerfect is the email Tiffany sent us on Wednesday saying she' d review the protocol and revert with any questions.
Collin K. Brodrick I Ogletree Deakins
8117 Preston Road, Suite 500 I Dallas, TX 75225 1Telephone: 214-692-0168
colin.brodrick@oqletree.com I www:.oqletree.com I .6i2.
                                Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 71 of 140
Fro m: Myers, Donald W. <DWMyers@littler.com>
Sent: Wednesday, January 31, 2024 10:09 AM
To: Brodrick, Collin I<. <collin.brodrick@ogletreedeakins.com>
Cc:: Royal, M ichael <M Royal@littler.com>
subject: RE: Return and remediation of CesiumAstro property remaining in M r. Luther's Possession (OONSS-OGL.107736.000001]


[Coutlon: Email ttttl wd from Htnnal sour«}



Collin, let me know after you speak with TransPer1ect.

Don



Donald W. Myers
Shareholder - eOiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com


Pronouns: He/Him

<imageOOl.png>

<image002.png>


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Three Parlcw~y. 1601 Cherry Street. Suite 1400, Philadelphia, PA 19102- 1321



From: Brodrick, Coll in K. <cot1i n.brodrick@ogletree.com>
Sent: Tuesday, January 30, 2024 6:48 PM
To: Myers, Donald w.<OWMyers@littler.com>
Cc: Royal, M ichael <MRoyal@littler.com>
subject: Re: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (OONSS-OGL.107736.000001]

TransPerfect can contact me and I'll coord inate.

Collin K. Brodrick, E5q.
Ogletree, Deakins, Nash, Smoak & Stewart, P.c.
214-692-0168




        On Jan 30, 2024, at 5:28 PM, Myers, Donald W.<OWMyers@littler.com> wrote:



         /Coutlon: Email rettNNIfrom l'Jdnnol sourttJ


        Collin, please see that attached, and let me know what you'd like to do about adding l(e) to Paragraph 5!

        Also, I can put you and Mr. Luther in touch with TransPerfect to work out the logistics of getting the devices and access over to them this week. Just let me know what is easiest.

        I know you're traveli ng, but I am generally around this week if w e need to have a quick call on logistics.


        Don



        Donald W. Myers
        Shareholder - eOiscovery Counsel
        267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
        OWMyers@littler.com


        Pronouns: He/Him

        <imageOOl. png>

        Best,


        Co llin K. Brod rick I Ogletree Deakins
        81 17 Preston Road, Suite 500 I Dallas, TX 75225 1Telephone: 2 14-692-0168
        collin.brodrid:@ogletree.com I www.oqletree.com 1.IDo.



        From: Myers, Donald w . <OWMyer s@littler.com>
        Sent: Monday, January 29, 2024 5:25 PM
        To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
        Cc:: Royal, Michael <M Royal@littler.com>
        Subject: RE: Return and remediation of CesiumAstro property remaining in M r. Luther 's Possession (OONSS-OGL.107736.000001]

        Don,

        Attached is the final protocol for execution by your side. Erik and I have signed it. I made two related corrections as reflected in the attached Word doc and accepted all other changes.

        Best,

        Dona ld W. Myers
        Shareholder - eOiscovery Counsel
        267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
        DWMyers@littler.com


        Pronouns: He/Him

        <imageOOl. png>

        <image002. png>



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        Three Park.way, 1601 Cherrv Street, Suite 1400, Philadelphia, PA 19102-1321



        From: Brodr ick, Collin K. <collin.brodrick@ogletree.com>
        Sent: Friday, January 26, 2024 11:37 PM
        To: Myers, Donald W. <DWMyers@littler.com>
        Cc: Royal, Michael <MRoyal@littler.com>
        Subject: Re: Return and remediation of CesiurnAstro property remaining in Mr. Luther's Possession (OONSS-OGL.107736.000001)
Sunday 1:00 CT?

Collin K. Brodrick, Esq.
                           Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 72 of 140
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692--0168



        On Jan 26, 2024, at 4:28 PM, Myers, Donald W. <DWMyers@littler.com> w rote:



         [ caution: Email rttriwd from ~1dnnal IOtUCe}



        Coll in, any chance we can cat ch up t oday? Or over the weekend? I'm in court all day Monday and in t he air for most of the day Tuesday.



        Donald W. Myers
        Shareholder - eOiscovery Counsel
        267.402.3041 direct, 215.284. 1318 mobile, 267.285.2797 fax
        OWMyers@littler.com


        Pronouns: He/Hi m


        <image001.png>

        <image002.png>



        Labor & Employment Law Solutions I Local Everywhere
        Three Parkway, 1601 Cherry Street, Suite 1400, Philade lphia, PA 19102-1321



        From: Brodrick, Collin K.<collin.brodrick@ogletree.com>
        Sent: Thursday, January 25, 2024 7:00 PM
        To: Myers, DonaldW. <OWMyers@littler.com>
        Cc: Royal, Michael <MRoyal@littler.com>
        subject: Re: Return and remediation of CesiumAstro property remaining in M r. Luther's Possession [ODNSS-OGL.107736.000CIOl)

        I'll b e in m ediation tom orrow so my schedule will be unpred ictable. I could call you during a break or i f it ends early, or we can talk on Monday any tim e after 9:30 CT.

        Coll in K. Brodrick, Esq.
        Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
        214-692-0168



                 On Jan 25, 2024, at 5 :24 PM, M yers, Donald w. <DWMyers@littler.com> wrote:



                  Caution: Email rttriwd from ~xtnnal SOUttt}



                 Collin, are available for a short call t oday or sometime t omorrow morning? If so, please let m e know a good t ime to call you.

                 Don



                 Donald W. Myers
                 Shareholder - eDiscovery Counsel
                 267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
                 OWMyers@littler.com


                 Pronouns: He/Him

                 <imageOOl.png>


                 <image002.png>



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                 Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



                 From: Rrpclrjrtc. J.olliJ>X .<rnllin hrrv1rirlrl@nal..tr.... rnm),
                 Sent: Thursday, J_anuary 2_5, 2024 8:26 AM
                 To: M yers, Donald W. <DWMyers@littler.com>
                 Cc: Royal, M ichael <MRoyal@littler.com>
                 Subject: Re: Return and remediation of CesiumAstro property remaining in M r. Luther's Possession (ODNSS-OGL.107736.000CIOl]

                 Tomorrow 9:30-10:30 and 11:00-5:00 CT.

                 Collin K. Brodrick, Esq.
                 Ogletree, Deakins, Nash, Smoak & Stew art, P.C.
                 214-692--0168



                           On Jan 24, 2024, at 2:03 PM, Myers, Donald W .<DWMyers@littler.com> wrote:




                           (Caution: Email rttriffd from ~Jdffnal UHlrtt}



                           Collin, w hen are you free for a quick call?

                           Don



                           Donald W. Myers
                           Shareholder - eOiscovery Counsel
                           267.402.3041 direct, 215.284.131& mobile, 267 .285.2797 fax
                           DWMyers@littler.com


                           Pronouns: He/Him

                           <imageOOl.png>

                           <image002.png>



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                           From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                           Sent: Wednesday, January 24, 2024 2:06 PM
To: Myers, Donald w.<OWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>

Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 73 of 140
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (OONSS-OGL.107736.000001)

Mr. Luther wants assurance that the harassment will end and Cesium won't file suit anyway even though he's cooperating. Anything you can on that front?



Collin K. Brodrick I Ogletree Oeaki ns
8 117 Preston Road, Suite 500 I Dallas, TX 752251 Telephone: 214-692-0168
collin brodrick@ogletree-com I www ogletree com 1.6..!o


from: Myers, Donald W. <DWMyers@littler.com>
Sent: Wednesday, January 24, 2024 9:29 AM
To: Brodrick, Collin K.<coUin.brodrick@ogletreedeakins.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (OONSS-OGL.107736.000001)


(Callfion: Email r«:riffd from ~JCtrmal sour-tt}



Collin, thanks for taking a look at this. We're generally fine with the changes you added to Paragraph 5; however, w e moved them to Paragraph 6 and added in a logging
requirement. We are also fine with a date restriction of February 10, 2021. How ever , our client will not accept the changes in Paragraph 8. If you'll agree to remove the language
from Paragraph 8 that you inserted and provide access to the Materials by the end of the w eek, then we have a deal. Otherwise, our client will be forced to file suit against Mr.
Luther.

Please let me know if you'd like to dj:scuss this.

Don



Donald W. Myers
Shareholder - eOiscovery Counsel
267.402.3041 direct, 215.284.131& mobile, 267.285.2797 fax
OWMyers@littler.com


Pronouns: He/Him

<imageOOl.png>

<image002.png>



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Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Brodrick, Collin K. <cotlin.brodrick@ogletree.com>
Sent: Monday, January 22, 2024 1:00 PM
To: Myers, Donald W.<OWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in M r. Luther's Possession (OONSS-OGL.107736.000001)

When can you talk?



Collin K. Brodric k I Ogletree Deakins
8117 Pre!:;l on Road, Suite 500 I Dalla!:, TX 752251 Telephone: 214 692 0168
collin.brodrick@ogletree-com I www.oqletree.com 1.6..!o


From: Myers, Donald w . <DWMyers@littler.com>
Sent: Thu rsday, January 18, 2024 li:23 />M
To: ~toancK, co1hiffC <OOflih:orooi'iC"'K{<i>og1etreeaeaklns.com>
Cc: Royal, Michael <MRoya1@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther 's Possession (OONSS-OGL.107736.000001)


/Coution: Email Tffffllff from ~JCtrmal sour-tt}



Collin, I am following up on our conversation from yesterday morning regarding the remediation protocol. It sounds like we are finally in agreement regarding the terms of the
protocol. How ever, you stated during our call that you w ould not turn any of the Materials over to TransPerfect for imaging and remediation, unless Cesium first processes Mr.
Luther's exercise of his stock purchase options.

I passed your message along to the c ompany. As you would expect, your precondition to the occurrence of the remediation activities did not go over well. The company asked
me to remind you Mr. Luther was contractually bound to immediately deliver all company property to CesiumAstro, upon the t ermination of his employment (which was long ago
at this point), with no pre-conditions to such obligation. Mr. Luther's contractual duty to engage in this remediation is separate and apart from, and in no w ay cond itioned on, a
resolution of any issues Mr. Luther may perceive he has regarding the exercise of stock purchase options.

This process has gone on far too long. The company will offer Mr. Luther one last chance to promptly turn all the Materials over to (and provide the necessary login credentials,
passwords, etc.) to TransPerfect. If Mr. Luther does not do so promptly, then he will leave the company wit h no other choice than to initiate a lawsuit against Mr. Luther to
protect its interests.

I'm in meetings today and tomorrow. If you'd like to discuss this, please call my cell (215-284- 1318) and I'll try to step out.

Don



Donald W. Myers
Shareholder - eOiscovery Counsel
267.402.3041 direct, 215.284.131& mobile, 267.285.2797 fax
OWMyers@littler.com


Pronouns: He/Him

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Pronouns: He/Him

<imageOOl.png>

<image002.png>



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Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent : Tuesday, January 16, 2024 12:32 PM
To: Mvers. Qonald W. <OWMvers®littler, ~om>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther 's Possession (OONSS-OGL.107736.000001]
[Coution: Email ttttiwdfrom ~xtffJHII sourttJ


Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 74 of 140
Collin, are you around today for a quick call?

Don



Donald W. Myers
Shareholder - eOiscovery Counsel
267.402.3041 direct, 215.284.1318. mobile, 267.285.2797 fax
DWMyers@littler.com


Pronouns: He/Him

<imageOOl.png>

<image002.png>



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Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Brodrick, COiiin K. <cotlin.brodrick@ogletree.com>
Sent: Thu rsday, January 4, 2024 11:39 AM
To: Myers, Donald w.<DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (ODNSS-OGL.107736.000001)

Good morning Don,

Following up on our meeting yesterday, Mr. Luther is fine adding his son's email address, hluther07@icloud.com, back into the protocol considering his son was involved in editing
the marketing video we've previously discussed. Assuming this is the last piece, please send me a final version for review.

Thanks,



Collin K. Brodrick I Ogletree Deakins
8117 Preston Road, Suite 500 I Dallas, TX 752251 Telephone: 214-692-0168
collin.brodrick@ogletree com I www.oqletree com I ID2


From: Myers, Donald W. <DW Myers@littler.com>
Sent: Wednesday, January 3, 2024 10:23 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedealdns.com>
Cc: Royal, Michael <MRoya1@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in M r. Luther's Possession (ODNSS-OGL.107736.000001]


(Caution: Email ttttiwdfrom ~xtrmal SOUtff}



Thanks Collin, I'll send an invite for 3 :00 cent ral this afternoon.



Donald W. Myers
Shareholder - eOiscovery Counsel
267.402.J041 direct, 215.204.1310. mobile, 267.205.2797 fu
DWMyers@littler.com


Pronouns: He/Him

<imageOOl.png>

<image002.png>



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Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Brodrick, COiiin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, January 3, 2024 10:32 AM
To: Myers, Donald W. <DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (ODNSS-OGL.107736.000001]

Hi Don- I'm available today 11:00-5:00 CT and tomorrow 9:00-5:00 CT.



Collin K. Brodrick I Ogletree Deaki ns
8117 Preston Road, Suite 500 I Dallas, TX 752251 Telephone: 214-692-0168
conin brodrick@oqletree com I www oqletree com I ID2



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Wednesday, January 3, 2024 6:58 AM
To: Brodrick, Collin K.<co1lin.brodrick@ogletreedeakins.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession (ODNSS-OGL.107736.000001)


(Caution: Email ttttiwdfrom ~xtrmal SOUtff}



COiiin, I hope you were able to get some down time over the holidays. Do you have time for a call about the revisions to the protoco l today or tomorrow? I'm generally around
other than a few calls here and there. Let me know what works for you and I can send an invite around.

Don



Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318. mobile, 267.285.2797 fax
DWMyers@littler.com


Pronouns: He/Him

<imageOOl.png>

<image002.png>



Labor & Employment Law Solutions I Local Everywhere
Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321
from: Brodrick, COiiin K. <collin.brodrick@ogletree.com>
Sent: Tuesday, December 19, 2023 9:28 AM
Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 75 of 140
To: Myers, Donald w.<OWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: Re: Return and remediatio n, of CesiumAst ro property remaining in Mr. Luthe r's Possession (ODNSS--OGL.107736.000001)

The hluther07 ID isn't his, it's his high school son's. The Hotmail email I replaced it with is Mr. Luther's Apple 10 through which the examiner will be able to access the pictures.

COiiin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & St ewart, P.C.
214-692-0168



        On Dec 19, 2023, at 6 :41 AM, Myers, Donald W.<OWMyers@littler.com> wrote:



       Coution: Em a i l ~               ~ldffDOI ~


        Collin, thanks for the quick turnaround. Sorry about the iCloud reference in the first paragraph. I was t yping an email to you and it looks like it accidentally made
        its w ay into the document.

        could you let me know about the change you made regarding the HLuther07@icloud.com? Specifically, why has that email address been deleted? And does Mr.
        Luther have an icloud.com email account and cloud storage?

        I'm generally around today if it's easier to have a quick call about this. Let me know what w orks.

        Don



        Donald W. Myers
        Shareholder - eDiscovery Counsel
        26 7.402. 3041 direct, 215.284.1318 mobile, 267.285.2797 fax




        Hi Don- Per the attached, I made one comment in the first paragraph and a correction in paragraph l{d). Otherwise, it looks good.

        Michael- Where's Cesium on processing the equity purchase?



        Collin K. Brodrick I Ogletree Deakins
        8 117 Preston Road, Suite 500 I Dallas, TX 75225 1Telephone: 214-692-0168
        coUin.brodrick@ogletree com I www ogletree com I .6io


        From: Myers, Donald w.<DWMyers@littler.com>
        Sent: Sunday, December 17, 2023 7:29 PM
        Senf: Mbnda'{, lkcetnoer"i~,' t.uL:f 1U~ ~ il-M
        To: Myers, Donald W.<DWMyers@littler.com>; Royal, M ichael <MRoyal@littler.com>
        Subject: RE: Return and remediation of CesiumAstro property remaining in M r . Luther's Possession (OONSS-OGL.107736.000001]




        COiiin:

        A ttached plc;:i!;C' find ::i r evi!;cd dr::ift protocol ba!;ed on our l::i!;t di,;;cu!;!;ion. I believe 1 m::id e t he ch::inge,;; you ::ind l d i!.CU!;!;ed, but p ka!;C' kt m e k n ow if you
        disagree.

        Further, you' ll see I added in, a few additional search terms. These are designed to uncover discussions about CesiumAst ro info rmation t hat do not contain any of
        the CesiumAstro terms we previously d iscussed.

        Finally, does M r. Luther use an iCloud account? we saw evidence of personal iCloud usage on Mr. Luther's computer. Could w e add in his iCloud account as one
        of the additional materials to be searched?

        Once you've reviewed this, could we schedule a call to go through it. I have a fair amount of availability on Tuesday and Wednesday.

        Don



        Donald W. Myers
        Shareholder - eDiscovery Counsel
        267.402. 3041 direct, 215.284.1318 mobile, 267.285.2797 fax
        OWMyers@littler.com


        Pronouns: He/Him

        <imageOOl.png>

        <image002.png>



        Labor & Employment Law Solutions I Local Everywhere
        Three Parkway, 1601 Cherry S.treet, Suite 1400, Philadelphfa, PA 19102-1321



        From: Brodrick, Collin K.<collin.brodrick@ogletree.com>
        Sent : Thursday, December 7~ 2023 11:23 AM
        To: Myers, Donald W. <DWMyers@littler.com>
        Cc: Royal, Michael <MRoyal@littler.com>
        Subject: Re: Return and remediation of CesiumAst ro property remaining in Mr. Luther's Possession (ODNSS--OGL.107736.CXXXXll)

        Sor ry, I didn't see t his email earlier. Yes, 4:30 works. Thanks.

        Collin K. Brodrick, Esq.
        Ogletree, Deakins, Nash, Smoak & Stew art, P.C.
        214-692-0168



                  On Dec 7, 2023, at 6 :36 AM, Myers, Donald W. <DWMyers@littler.com> wrote:



       Caution: Email rrttMdJrw'! f!ldffDOi -          rtt




                  COii in, 1scheduled another call at 10:30 central. Can you talk at 4:30 central today?

                  Don



                  Donald W. Myers
                  Sha reholder - eOiscovery Counsel
                  267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
                  DWMyers@littler.com
                Pronouns: He/Him


Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 76 of 140
                <imageOOl.png>

                <image002.png>




                Donald W. Myers
                Shareholder - eDiscovery Counsel
                267.402.3041 direct, 215.284.1318 mobile, 26 7.285.2797 fax
                DWMyers@littler.com


                Pronouns: He/Him

                <imageOOl.png>

                <image002.png>




                Donald W. Myers
                Sha reholder - eDiscovery Counsel
                267.402.3041 direct, 215.284.1318 mobile, 267.28S.2797 fax
                DWMyers@littler .com


                Pronouns: He/Him

                <imageOOl.png>

                <image002.png>



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                Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321




                DWMyers@littler .com


                Pronouns: He/Him

                <imageOOl.png>

                <image002.png>



                Labor & Employment Law Solutions I Local Everywhere
                Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



                Fro m: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                f AY1l1.•~~s;00,1J\Lrvv:-.. -- ...,. ,.,....., • .c... " " •
                Sent: Friday, December l , 2023 6:46 PM
                To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Royal, Michae l <MRoya1@littler.com>
                subject: RE: Return and remediation of CesiumAstro property remainine in Mr. Luther's Possession [ODNSS-OGL107736.000001l

                Collin,

                Thanks for the email and we appreciate V"'' -
                understood what yotJ._;u,...,m oak & Stewart, P.C.




                Fro m: Royal, Michael <MRoyal@littler.com>
                Sent: Wednesday, November 29, 2023 8:54 AM
                To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
                CC: Myers, Donald W . <DWMyers@littler.com>
                subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODNSS-OGL. 10773 6.000001)


JCovtlon: Email rttdwd from ~Jttffnol ~ /


                Hi. I will verify with Don. but I think we can probably \Vork with your proposed revisions to the protocol (v,rith a few
                minor tw eaks). I am ,vaiting on further guidance/instructions from my client re: the stock, release, etc. issues

                Perhaps I misunderstood, but who owns the USBs and Hard Drive? \VbCI"e did they come from? I thought you had
                communicated they \ \."CfC the company's property. but were still .in the possession of Luther? Is that incorrect?

                If you are asserting Luther purchased the USBs and Hard Drive. then what type of company information does Luther
                believe is on them? What did he use them for? \Vere they provided by a third party? Pue they client bidding/technical
                specs? Used for downloading information from Company computers? Other?

                Docs Luther have information on the USBs and/or hard drive that is pcrsonalfnonbusincss?

                We will need to ha\''e a bcncr understanding of what may be on the USBs and Hard Drive, to be able to effectively
                remediate the information. Alternatively, we could jwt agree that only counsel for the parties is able to review (but not
                have a copy of) the complete information on the USBs and Hard Drive - to determine what is company business
                information vs. any personal/non-business information LuthCI" may ha-..-e saved on to the devices. The forensics team can
                make the information available through a share screen. which expressly precludes copying

                Please clarify these issues for us. Thank you.

                Michael



                From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                Sent: Tuesday, November 28, 2023 2:43 PM
                To: Royal, Michael <MRoyal@littler.com>
                CC: Myers, Donald W . <DWMyers@littler.com>
                subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther 's Possession [ODNSS-OGL. 107736.000001)

                I understand that utilizing a forensic expert is Cesium's preferred process but it's not required under the rules, Texas law, or
                relevant precedent. Mr. Luther has repeatedly offered to perform a diligent search to identity relevant data, return/delete t he
                data, and prOV'ide a supporting sworn declaration, which any judge would f ind reasonable given there's no wrongdoing, but
                Cesium is demanding a more robust process.

                And, as I've said numerous times ad nauseam, Mr. Luther wants to cooperate in the forensic analysis if we can reach an
                agreement, which m ust include Cesium processing the stock purchase before we turn over the devices. The stock purchase has
                been a key issue since the beginning, but Cesium ignored it. Cesium cannot plausibly claim delay. The devices are safely secured in
                my office and Mr. Lu ther is well aware of his preservatfon obligations, so your urgency is manufactured. I think even you would
                agree I've been engaged and responsive, whereas Cesium d idn't respond to my or Mr. Luther's inquiries about the stock purchase
                for more than two months, so I am not the cause of any supposed delay.
                  interests, so let's work out a reasonable compro mise quickly. As a show of good faith, attached is my red lined protocol. I tried to
                  work within the confines of your draft and use the same terminology, so hopefully my changes make sense. Happy to d iscuss
Case 1:24-cv-00314-RP
      further by phone, if needed. Document 10 Filed 03/29/24 Page 77 of 140
                  Collin K. Brodrick I Ogk!tree Deakins
                  8117 Preston Road, Suite 500 I Dallas, TX 752251 Te~phone: 214--692-0168
                  colin_brodrick@ogletree-com I www ogletree.com I 6N


                  From: Royal, Michael <MRoyal@littler.com>
                  sent: Tuesday, November 28, 2023 1:56 PM
                  To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
                  Cc: Myers, Donald W. <DWMyers@littler.com>
                  subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODNSS-OGL.107736.CXXXX>l)


(Coution: Emoil rruiwd from ~JttffftOI sotKtt}



                  Collin,

                  Hello. I intend to speak with the company, in order to obtain the company' s guidance regarding the collateral. non-
                  remediation issues you included below.

                  In the interim. please immediately address the company' s request for remediation. If the protocol is not to your liking,
                  feel free to immediately revise it or suggest another_ However. we \\-;n not accept any further delays

                  Moreover, the process by which the electronic company information (from the 2 USBs, the external hard drive, the
                  Hotmail account and the iCloud account. which are the only sources identified by Luther to date) is "returned" to the
                  company must be forensically sound and in compliance with app licable rules of procedw-e and evidence. It will not be
                  sufficient for Luther to simply delete (as opposed to "return'') the electronic information_ Instead. a forensic expert
                  should be retained. The expert should maintain a chain of custody log and make a forensic image of the electronic
                  storage devices/accounts. From that forensic image. the expert ,vill create a forensically sound image of the responsive
                  data (including its associated meta~data). which will then be provided to counsel for the company. After that point the
                  company data contained in the devices/accounts may be deleted, but the expert will maintain possession of the original,
                  unaltered forensic images (in case same are needed again in the futw-e)_ This is the exact method utilized in every case
                  inrnlving the identification. retrieYal and/or production of electronic data.

                  If we do not receive yow- proposed revisions to the protocol with in the next day or so, or if such proposed revisions are
                  not forensically sound and/or do not comply with applicable rules of procedw-e and evidence. then we will be required to
                  take additional actions to secw-e the rerum of the company's information.

                  MR

                  From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                  sent: Monday, November 27, 2023 9:48 PM
                  To: Royal, Michael <MRoyal@littler.com>
                  Cc: Myers, Donald W. <DWMyers@littler.com>
                  subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODNSS-OGL.107736.CXXXX>l)

                  I've left several voicemails for you over the last several weeks and asked you to call me back, all to no avail.

                  In your response below, you refuse to engage on the stock transaction yet again. Please respond to all of the issues I raised, not
                  just the ones you prefer to address.

                  You also (yet again) intentionally conflate Mr. Luther's obligation to return company property (which he has repeatedly agreed to
                  rln) with (".p,;ium',; rlPmRnrl thRt hP rPmit hi,; rlPvirP<; tn R forpn,;ir PXRminPr. AeRin, Mr. I uthPr hR<; no IPfRl nhlieRtinn tn tum OVPr
                  his devices and no court would order it on these facts. His potential willingness to cooperate with a forensic examination is a
                  concession in exchange for which Cesium must process the stock purchase.

                  I acknowledge Cesium is now backing off its demand that Mr. Luther tum over all of his personal devices (thank you for clarifying),
                  though your email leaves plenty of room for Cesium to renew its demand in the future. With that in mind, I will draft a covenant
                  not to sue agreement with some language that cesium should find reasonable, and red line the protocol. Meantime, let me know
                  when Cesium will process the stock purchase.


                  Collin K. Brodrick I Ogk!tree Deakins
                  8117 Preston Road, Suite 500 I Dallas, TX 752251 Telephone: 214--692-0168
                  colhbrodrick@ogletree-com I www.ogletree.com I firo.


                  From: Royal, Michael <MRoyal@littler.com>
                  sent: Monday, November 27, 2023 5:40 PM
                  To: Brodrick, Collin K. <collin.brodrick@oglet reedeakins.com>
                  Cc: Myers, Donald W. <DWMyers@littler.com>
                  subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODNSS-OGL.107736.CXXXX>l)


(Coution: Emoil rruiwd from ~JttffftOI sotKtt}



                  Collin,

                  Hi. I am not certain bow we are trying to avoid a verbal conversation, when we were the ones trying to schedule a call
                  today. But that is of no consequence.

                  For the current remediation, all we are requesting is that Mr. Luther comply with his contractual and common law
                  obligations - as addressed hereafter_ If Luther does not intend to do so, please promptly conYey that to us

                  First, Luther must tum over the 2 USBs and the external hard drive (which be previously refCI"enced as being in his
                  possession) to us ASAP. For clarity. we are not requesting to take a forensic image of any other electronic data devices
                  at this time (as we wi ll not agree to Luther' s pre-conditions for such activity to occw-. e.g. , full release, etc.). H owever,
                  LuthCI" should continue to avoid the spoliation of any electronic data devices and/or other e\·identiary sources. in his
                  custody, possession, or control - in the event this mattCI" does result in litigation.

                       \Vill Luther ag ree to r eturn the 3 electronic data devices (t he 2 USBs and the exter nal hard d ri\'e) to us
                  ASAP or not?

                  Second, Luther stated he is also in possession of company information in the nvo online and/or cloud-based accounts (his
                  Hotmail account and an iCloud account) . LuthCI" should not delete or spoliate any information in these accounts (or any
                  other accounts potentially containing company information and/or evidence related to the panics' disputes). The
                  company information in the referenced Hobnail account and iCloud account must be remediated ASAP (i.e., a forensic
                  copy made of same by Transpcrfect. and only after such copy is made, the information wiU be permanently deleted off
                  LuthCI"'s accounts) .

                        \Vill L uther agree to r emediate the company information contained in bis Hotmail account and the iCloud
                  account, as r equested, ASAP?

                  MR



                  Fro m: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                  sent: Monday, November 27, 2023 4:02 PM
                  To: Royal, Michael <MRoyal@littler.com>
                  Cc: Myers, Donald W.<DWMyers@littler.com>
                  subject: RE: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODNSS-OGL.107736.CXXXX>l)
                 Since you're dearly avoiding a verbal conversation {I suspect I know why), 1guess I'll send an email.

Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 78 of 140
                 First, Mr. Luther has already repeatedly agreed to return, or in the case of electronic data permanently delete, anything that could
                 be construed as CesiumAstro's property going back to his initial response letter on September 5. He even readily identified files
                 that might even loosely qualify as company property and has conducted multiple searches since then to ensure he is not in
                 possession of anything else. First, CesiumAstro demanded Mr. Luther turn over four USB drives and he reluctantly agreed. Now,
                 CesiumAstro has greatly expanded its demand to include all of his personal electronic devices, which goes far beyond any legal
                 obligation he might have and no court would order it. He, therefore, understandably wants assurance that making this. extreme
                 concession will mean the end of CesiumA.stro's wanton harassment, which can only come through a global agreement along the
                 lines of my prior email.

                 Second, the stock purchase is inextricably intertwined with this d ispute given CesiumAstro appears to be denying the transaction
                 based on alleged violations of his restrictive covenants. Therefore, it must be resolved in tandem with the other issues. As for your
                 client's letter of November 17, it is not at all self-explanatory. Namely, the letter references language related to alleged
                 "misconduct" without identifying it. Given that Mr. Luther was not terminated but resigned voluntarily, I can only assume
                 CesiumA.stro is refer-encing other "misconduct;" which is defined in section N of the Appendix to the Stock Plan as various actions
                 none of which apply to Mr. Luther (as you well know). CesiumAstro's denial of the stock purchase is wholly without merit and
                 grounds for a claim.

                 I'll get back to you about the forensic protocol once we resolve these other issues. Upon first glance, it will need significant
                 revisions.



                 Collin K. Brodrick I Ogk!tree Deakins
                 8117 Preston Road, Suite 500 I Dallas, TX 752251 Telephone: 214-692-0168
                 coNin brodrick@ogletree.com I www ogletree.com I llio.



                 From: Royal, Michae l <M Royal@littler.com>
                 Sent: Monday, November 27, 2023 2:33 PM
                 To : Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
                 Cc: Myers, Donald W . <DWMyers@littler.com>
                 subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODN.SS-OGL.107736.000001)


(caution: Email ttttiwdfrom ~xkmol SOllltt}



                 Hi. D on' s speci alty is eDiscovery H e w as the author of the forensic protocol w e sent to you and rou tinely works with
                 the external \·enders on these exact type of remedi ati on projects. T o the extent you have any qu estions regardi ng the
                 protocol related acti vities, he is the m an to speak with.

                 Aie you not planning on discussing the r emed iation of the information remaining in L uther's possession? W hat other
                 i ssues are there to speak about at this point?



                 From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                 Sent: Monday, November 27, 2023 1:51 PM
                 To: Royal, Michael <MRoyal@littler.com>
                 Cc:: Myers, Donald W . <DWMyers@littler.com>
                 subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther' s Possession [ODN.SS-OGL 107736.000001)

                 I see from Littter's website that Don's practice focuses exclusively on eDiscovery. Given that I'd like to discuss more general issues,
                 perhaps it would be better if you and I speak.



                 Collin K. Brodrick I Ogk!tree Deakins
                 8117 Prc!:ton Road, Suite 600 I Dallac, TX 762261 Tdcphonc: 214 692 0168
                 collin.brodrick@ogletree.com I www.ogletree.com I llio.



                 From: Royal, Michael <MRoyal@littler.com>
                 Sent: Monday, November 27, 2023 1:43 PM
                 To : Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
                 Cc: Myer s, Donald W . <DWMyers@littler.com>
                 subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther' s Possession [ODN.SS-OGL 10773 6.000001)


(COution: Email ttttiwdfrom ~xkmol SOllltt}



                 Hi. Don is aYailabl e at 4:30 central. Does that time work for you? Thank you.

                 Michael

                 M ichael Royal
                 Shareholder
                 214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax
                 M Royal@littler.com


                 <imageOOl.png>

                 <image002.png>



                 Labor & Employment Law Solutions I Local Everywhere
                 2001 Ross Avenue, Suite 1500, Lock Box 116, Dallas, TX 75201-2931
                 From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
                 Sent: Monday, November 27, 2023 10:51 AM
                 To: Royal, M ichael <MRoyal@littler.com>
                 Cc:: Myer s, Donald W . <DWMyers@littler.com>
                 subj ect: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODN.SS-OGL.107736.000001)

                 Per the voicemail I just left on your direct line, please give me a call to discuss.



                 Collin K. Brodrick I Ogkltree Deakins
                 8117 Preston Road, Suite 500 I Dallas, TX 752251 Telephone: 2 14-69 2-0168
                 coNin brodrick@oaletree.com I www.ogletree.com I llio.



                 From: Royal, Michael <MRoyal@littler.com>
                 Sent: Monday, November 27, 2023 10:06 AM
                 To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
                 Cc: Myers, Donald W. <DWMyers@littler.com>
                 subject: RE: Return a nd remediation of CesiumAstro property remaining in Mr. Luther's Possession


(COution: Email ttttiwdfrom ~xkmol SOllltt}



                 Collin,

                 H ello . I hope you had a pleasant h oliday .

                 The company's letter re: stock issues \Vas self-explanatory and is irrelevant to the i ssues w e are currently attempting to
                 address.
                   At this point. ,,..e need to focus on remediating Mr. Luther's retention of the company' s information. We would like to
                   initiate the protocol identified in my correspondence to you, dated November 22, 2023. today. Please confirm we may
Case 1:24-cv-00314-RP                              Document
      dispatch the courier to retrieve the 2 USBs and the external hard drive10
                                                                             from youFiled        03/29/24
                                                                                     (at your office address) today. Also,Page 79 of 140
                   please provide yom availability this afternoon and tomorrow - to participate in a call with the forensic vendor (to discuss
                   logistics. address log-in credentials for the Hotmail and iCloud accounts, etc.).

                   Thank you.

                   Michael




                   From: Brodrick, Colli n K. <collin.brodrick@ogletree.com>
                   Sent: Wednesday, November 22, 2023 1:37 PM
                   To: Royal, Michael <MRoyal@littler.com>
                   Cc: Myers, Donald W . <DWMyers@littler.com>
                   subject: Re: Return and remediatio n of CesiumAstro property remaining in M r. Luther's Possession

                   What about the stock purchase? Erik received a letter that the transaction is being denied for supposed "misconduct." This is a
                   clear £RISA violation .
                   Coll in K. Brodrick, Esq.
                   Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
                   214-692--0168



                              On Nov 22, 2023, at 12:31 PM, Royal, Michael <MRoyal@littler.com> wrote:



[Coution: Emoll rttrlwdfrom ~Jdffnol ~               ,


                              Collin,

                              Good afternoon.

                              In accordance with Section 7 of Mr. Luther's Proprietary Information and Inventions Agreement with
                              CesiumAstro (the "Agreement') , Mr. Luther agreed to immediately deliver all company property to
                              CesiurnAstro. upon the termination of his employment with CesiumAstro.

                              From our previous communications, it is our understanding Mr_Luther has certain company information
                              in: (i) his H otmail email and iCloud accounts; (ii) on 2 USBs; and (iii) on an external hard drive. We
                              understand the USBs and external hard drive arc currently being held by you in your office. If Mr. Luther
                              bas any other company information stored on any other e lectronic data storage devices (or bard copies).
                              please identify same fol" us at your earliest convenience.

                              To aid the Parties in this I"ecovery and I"emediation endeavor, we have drafted the attached forensic
                              protocol. Considering the holiday this week, ,ve would like to initiate this protocol early next week. We
                              will contact you on Monday to discuss the logistics of the protocol. Thank you.

                              Michael

                              Michael Royal
                              Shareholder
                              214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax
                              MRoyal@littler.com

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                              <image002.png>



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                                                                   Case     1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 80 of 140
                                                                      legal entities.

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       EXHIBIT D-6
                                       Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 83 of 140


Brodrick, Collin K.

From:                               Brodrick, Collin K.
Sent:                               Wednesday, February 7, 2024 1:46 PM
To:                                 Brandon Button; Tiffany Wylie
Cc:                                 FTAC_TX; Myers, Donald W.
Subject:                            RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]


Thanks, Brandon.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Brandon Button <bbutton@transperfect.com>
Sent: Wednesday, February 7, 2024 1:41 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Tiffany Wylie <twylie@transperfect.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]

[Caution: Email received from external source]



Thank you for the call, Collin. The app-specific password has been revoked and I have signed out of the iCloud account.

Regards,

Brandon Button
Digital Forensics Examiner
M +1 214.608.7056




                                                                                1
                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 84 of 140




From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, February 7, 2024 1:33 PM
To: Brandon Button <bbutton@transperfect.com>; Tiffany Wylie <twylie@transperfect.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]

Thanks, Brandon. I’ll get back to you.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/a1b44f17/I01ElAusSk2-31mU1N4VmA?u=http://www.ogletree.com/ | Bio



From: Brandon Button <bbutton@transperfect.com>
Sent: Wednesday, February 7, 2024 1:16 PM
To: Tiffany Wylie <twylie@transperfect.com>; Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]

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Hi Collin,

All three mailbox collections have completed. I have signed out of both Hotmail accounts.

For the iCloud account, I would like to remove the App-Specific Password “TransPerfect”. However, I will need assistance with 2fa to access the security section
to achieve this. Would Erik be able to relay a 2fa code? Alternately, I can provide the instructions for Erik/Hayden to remove this directly.

Please let me know if there are any questions.
                                                                                2
                                      Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 85 of 140


Regards,

Brandon Button
Digital Forensics Examiner
M +1 214.608.7056




From: Tiffany Wylie <twylie@transperfect.com>
Sent: Wednesday, February 7, 2024 9:24 AM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]

Thank you, Collin. Let’s go with the 10:00 AM slot. I will send a meeting invite.

Thanks again!

Tiffany Wylie | Senior Digital Forensics Examiner
t +1 214.744.4200 | m +1 214.784.9231




From: Brodrick, Collin K. [mailto:collin.brodrick@ogletree.com]
Sent: Wednesday, February 07, 2024 8:48 AM
To: Tiffany Wylie <twylie@transperfect.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]


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                                       Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 86 of 140
Erik and I are available today 10:00-11:00 and 1:00-3:00 CT. Let me know what works for you.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/c17867bb/aB4ut2HDDkmPCkguyFjrvA?u=http://www.ogletree.com/ | Bio



From: Brodrick, Collin K.
Sent: Tuesday, February 6, 2024 11:14 PM
To: Tiffany Wylie <twylie@transperfect.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: RE: CesiumAstro Remediation [ODNSS-OGL.107736.000001]

Great, thank you. I’ll get back to you about a time for a follow-up call tomorrow.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/c17867bb/aB4ut2HDDkmPCkguyFjrvA?u=http://www.ogletree.com/ | Bio



From: Tiffany Wylie <twylie@transperfect.com>
Sent: Tuesday, February 6, 2024 4:17 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Cc: FTAC_TX <FTAC_TX@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Subject: CesiumAstro Remediation

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Collin,

I had a phone conversation with Don Myers from Littler. He advised that they are fine with proceeding without removing custodian access to the email
accounts, so I believe we can move forward. Please let me know if I understand correctly.

Collin, please let me know when we can reschedule the call with Mr. Luther for assistance

_________________
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                                                    Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 87 of 140
Tiffany Wylie
Senior Digital Forensics Examiner



1717 Main Street
Suite 3950
Dallas, TX 75201

t +1 214.744.4200 | m +1 214.784.9231
https://link.edgepilot.com/s/a24a9a51/q4YPk1vJ5kKTVUUiHIirJg?u=http://www.transperfectlegal.com/




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Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 88 of 140




       EXHIBIT D-7
                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 89 of 140


Brodrick, Collin K.

From:                                 Brodrick, Collin K.
Sent:                                 Thursday, February 8, 2024 3:32 PM
To:                                   Stuart Claire
Cc:                                   Myers, Donald W.; mroyal@littler.com; Tiffany Wylie; Rattana Phansackdy
Subject:                              Re: Cesium-Luther: Forensic protocol [ODNSS-OGL.107736.000001]



Thank you, you too.

Collin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692-0168


       On Feb 8, 2024, at 3:31 PM, Stuart Claire <sclaire@transperfect.com> wrote:


           [Caution: Email received from external source]



       Thank you. I sent an invitation for 10:30AM ET on Monday. Please let me know if there are any conflicts.

       Enjoy the weekend.

       Stuart Claire, Esq.
       Senior Director
       M +1 347.880.6581

       <image001.png>




       <image002.png>

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                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 90 of 140

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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Thursday, February 8, 2024 3:59 PM
To: Stuart Claire <sclaire@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>; mroyal@littler.com
Cc: Tiffany Wylie <twylie@transperfect.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Subject: RE: Cesium-Luther: Forensic protocol [ODNSS-OGL.107736.000001]

I’m available on Monday 10:00-11:30 and 2:00-5:00.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/ebeff403/gY21GvwZ7UCJ57VLMFea9g?u=http://www.ogletree.com/ | Bio



From: Stuart Claire <sclaire@transperfect.com>
Sent: Thursday, February 8, 2024 1:55 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Myers, Donald W. <DWMyers@littler.com>; mroyal@littler.com
Cc: Tiffany Wylie <twylie@transperfect.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Subject: RE: Cesium-Luther: Forensic protocol


[Caution: Email received from external source]



Hi Collin, Don and Michael.

We would like to schedule a call for Monday to review next steps for this project.

Please let me know whether you have time Monday between 10-11:30 or after 2:00. Thank you.

Stuart

Stuart Claire, Esq.
Senior Director




                                                                                                     2
                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 91 of 140

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1500 Market Street 27th Floor
Philadelphia, PA 19102-2186
M +1 347.880.6581
https://link.edgepilot.com/s/68e4bb05/tzwpEcV-DEeEweGkd2exrA?u=http://www.transperfectlegal.com/



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For information about our personal data policy and your opt-out rights, please review our privacy policy or visit our opt-out portal.




From: Myers, Donald W. [mailto:DWMyers@littler.com]
Sent: Wednesday, January 31, 2024 8:00 AM
To: Tiffany Wylie <twylie@transperfect.com>
Cc: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Royal, Michael <MRoyal@littler.com>
Subject: Cesium-Luther: Forensic protocol

Tiffany:

I hope you’ve been well. We’ve worked out a protocol with Mr. Luther’s counsel (Collin, copied here), a copy of which is attached. You’ll note
that in Paragraph 5, we left out searching the materials listed in Paragraph 1(e). The parties have agreed that the materials listed in Paragraph
1(e) will be searched under Paragraph 5.

Collin will reach out to you directly to get the materials over to you. Please let us know if you have any questions.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him


                                                                                                     3
                                         Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 92 of 140

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       EXHIBIT D-8
                                       Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 94 of 140


Brodrick, Collin K.

From:                               Brodrick, Collin K.
Sent:                               Thursday, February 29, 2024 1:41 PM
To:                                 Myers, Donald W.
Subject:                            RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


Ok, I’ll take a look when I can, probably next week as I’m prioritizing the initial review.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Thursday, February 29, 2024 12:49 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

[Caution: Email received from external source]



Collin, below are the control numbers of the files we’d like you to downgrade to confidential. Let me know if that works.

Don

CA_CTRL_ND00000004
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                     Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 95 of 140
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                                       Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 96 of 140



Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him




Labor & Employment Law Solutions | Local Everywhere
Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Thursday, February 29, 2024 10:48 AM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

At the moment, I don’t see any reason to downgrade any files except the ones that are already marked confidential and the ones we eventually mutually agree
should be remediated. Everything else is data solely owned by Mr. Luther and not any of Cesium’s business. With that said, if there are particular files you want
to discuss, I’m all ears.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Thursday, February 29, 2024 9:45 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

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What are you seeing that is AEO?


Donald W. Myers
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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Thursday, February 29, 2024 10:44 AM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I disagree, so no.


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collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Thursday, February 29, 2024 9:30 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

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Collin, I took another look at the documents yesterday. There is nothing in there that warrants AEO treatment. Can we get these released today?

Don


Donald W. Myers
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DWMyers@littler.com

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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, February 28, 2024 11:28 AM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I need to walk through the review process/details and how Relativity works with Erik. I assume we can have it done no later than Monday, perhaps sooner.


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From: Myers, Donald W. <DWMyers@littler.com>
Sent: Tuesday, February 27, 2024 7:55 PM
                                                                              5
                                       Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 99 of 140
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

[Caution: Email received from external source]



Collin, yes, that is correct. Let me know an ETA as to when you’ll be done with the review.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him




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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Monday, February 26, 2024 5:22 PM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I don’t know, Don. I plan to communicate with Erik about it as soon as you answer my first question below.


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collin.brodrick@ogletree.com | www.ogletree.com | Bio

                                                                                6
                                      Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 100 of 140


From: Myers, Donald W. <DWMyers@littler.com>
Sent: Monday, February 26, 2024 3:22 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

[Caution: Email received from external source]



Thanks Collin, when will you be done with the review?

And I haven’t shared anything with Cesium, nor has anyone else at Littler. The only thig shared with Cesium are the files provided by TransPerfect.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
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DWMyers@littler.com

Pronouns: He/Him




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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Monday, February 26, 2024 1:32 PM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]



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TransPerfect finally fixed the technical issues, so I was able to review all of the “potentially privileged” files. Most of them are privileged, but a few are not. I’ve
asked TransPerfect to give Littler access to the non-privileged materials. I’ll send you a privilege log on everything else.

Next, Erik and I will turn to the other files. To confirm, you all marked the files you think belong to Cesium (and must be scrubbed) as “responsive” and
everything else as “non-response,” correct? I ask because I only see 160 files marked “responsive.”

Finally, I want to follow up something you said on February 23. You said, “we’ve completed our review and we did not see anything privileged or that could not
be reviewed by our client.” To confirm, you haven’t shared any of the data with Cesium except the emails with “@cesiumastro” in one of the recipient lines,
correct? Except for emails that fall into that category, nothing should be shared with Cesium without Erik’s permission.


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From: Brodrick, Collin K.
Sent: Monday, February 26, 2024 9:09 AM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: Re: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

No. TransPerfect is still working through a couple issues and I’m still catching up after traveling last week.

Collin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692-0168


        On Feb 26, 2024, at 6:53 AM, Myers, Donald W. <DWMyers@littler.com> wrote:



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        Collin, were you and Mr. Luther able to get through the documents?




                                                                                    8
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Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

<image001.png>

<image002.png>


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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Friday, February 23, 2024 2:36 PM
To: Myers, Donald W. <DWMyers@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Hopefully today. I’m working through some Relativity issues with TransPerfect.


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collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Friday, February 23, 2024 1:32 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


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                                                                        9
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Thanks Collin. When do you think you’ll be through the privileged information?

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

<image001.png>

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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Friday, February 23, 2024 2:12 PM
To: Myers, Donald W. <DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I didn’t know y’all were done. I thought you were asking me about the attorney-client privileged stuff. I’ll look at the database and communicate
with Erik. He can probably go through everything this weekend depending on how much it is.


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From: Myers, Donald W. <DWMyers@littler.com>
Sent: Friday, February 23, 2024 11:14 AM

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                             Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 104 of 140
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>
Cc: Royal, Michael <MRoyal@littler.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


[Caution: Email received from external source]



Thanks Collin (and dropping TransPerfect). We’ve completed our review and we did not see anything privileged or that could not be reviewed
by our client. When do you think you’ll be done with your review?

Also, we mass coded documents from the following email addresses as non-responsive:

    1.   Any emails from @mwjournalemails.com
    2.   Any emails from Pandora
    3.   Any emails from Meg.Henley@etlsystems.com
    4.   Any emails from @om.satellitetoday.com
    5.   Any emails from @viasatellite.ims-stats.com
    6.   Any emails from @privaterelay.appleid.com
    7.   Any emails from @go.fiercewireless.com

If you do the same it will greatly speed up your review.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

<image001.png>

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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Friday, February 23, 2024 12:02 PM
To: Myers, Donald W. <DWMyers@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I need to follow up with TransPerfect about an issue to complete the review. I’ll let you know when it’s done.


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collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Friday, February 23, 2024 7:49 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


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Collin, I know you were out the past couple of days. Please let me know the status of your review when you have a minute.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
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DWMyers@littler.com
                                                                        12
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Pronouns: He/Him

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From: Myers, Donald W.
Sent: Wednesday, February 21, 2024 11:43 AM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Collin, how are you coming on your review of the documents?


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

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<image002.png>


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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Thursday, February 15, 2024 3:27 PM
To: Myers, Donald W. <DWMyers@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Again, Cesium may view any emails on which an @cesiumastro.com email address is included as a sender or receiver. However, if there are
emails (or documents for that matter) in which an @cesiumastro email address only appears in the body, Cesium may not view those without
Mr. Luther’s approval.


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From: Myers, Donald W. <DWMyers@littler.com>
Sent: Thursday, February 15, 2024 2:23 PM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


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Thanks Collin. I need to get Relativity access for Will Rice and Peter Manternach at Cesium. Under my read of the protocol, they currently can
access the files hit on by the @cesiumastro.com search that came from one of the 3 email accounts (Paragraphs 1(c) – (e) of the Protocol). Collin
let me know if you disagree.

TransPerfect, could you set up in Relativity a separate folder that Will and Peter can access? Here are their email accounts:

    1. will.rice@cesiumastro.com
    2. peter.manternach@cesiumastro.com

Please let me know if anyone has questions.

                                                                        14
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Don


Donald W. Myers
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DWMyers@littler.com

Pronouns: He/Him

<image001.png>

<image002.png>


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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Thursday, February 15, 2024 3:17 PM
To: Rattana Phansackdy <rphansackdy@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I just emailed Hajar Rahioui asking for credentials for Erik Luther. His email address is eluther22@hotmail.com.


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collin.brodrick@ogletree.com | www.ogletree.com | Bio



From: Rattana Phansackdy <rphansackdy@transperfect.com>
Sent: Thursday, February 15, 2024 11:00 AM
To: Myers, Donald W. <DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Bryan Hatten


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<bhatten@transperfect.com>; TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


[Caution: Email received from external source]



Good Afternoon,

The documents have been promoted to Relativity.

Don has access to the existing Case Data folder and Non-Priv Remediation folder. Please let us know if anyone else will need access.

<image003.png>

Collin has access to the Remediation non-priv and potentially priv documents. Let us know if you would like to add a "Downgrade from Priv" tag
or something similar. So we can use that as the tag to determine what gets release. Please provide email address of anyone who will need
access as well.

<image004.png>

We highlighted the search terms in magenta and the privilege terms in yellow. Also, let us know if any update is needed on the coding layout
and if you have any questions.

Thanks!


Rattana Phansackdy
Senior Project Manager
M +1 215.292.0139

<image005.png>


From: Rattana Phansackdy <rphansackdy@transperfect.com>
Sent: Wednesday, February 14, 2024 7:50 PM
To: Myers, Donald W. <DWMyers@littler.com>
Cc: Royal, Michael <MRoyal@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletree.com>; Bryan Hatten <bhatten@transperfect.com>;


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TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: Re: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Don,

We will work on getting the documents promoted to Relativity and will follow up once completed.

Thanks!

____________________________
Rattana Phansackdy | Project Manager
TransPerfect Legal Solutions
t +1 215.569.0508 x2130|m+1 215.292.0139




          On Feb 14, 2024, at 6:06 PM, Myers, Donald W. <DWMyers@littler.com> wrote:


          TransPerfect, when will Littler have access to the documents?


          Donald W. Myers
          Shareholder - eDiscovery Counsel
          267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
          DWMyers@littler.com

          Pronouns: He/Him

          <image001.png>

          <image002.png>


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                                                                          17
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From: Royal, Michael <MRoyal@littler.com>
Sent: Wednesday, February 14, 2024 5:21 PM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Myers, Donald W. <DWMyers@littler.com>; Bryan Hatten
<bhatten@transperfect.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

That’s fine. Just want to push forward. Thanks.

From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, February 14, 2024 4:10 PM
To: Myers, Donald W. <DWMyers@littler.com>; Royal, Michael <MRoyal@littler.com>; Bryan Hatten
<bhatten@transperfect.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

I’m fine with that. I’m also equally fine with Littler sharing the non-privileged, Confidential documents with Cesium personnel as
necessary to facilitate the review, while withholding the AEO docs from Cesium personnel unless/until we confer, per the
protocol.


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collin.brodrick@ogletree.com | https://link.edgepilot.com/s/7c91d468/z9D9vFKXeUKWbfiaHUr82w?u=http://www.ogletree.com/ |
Bio



From: Myers, Donald W. <DWMyers@littler.com>
Sent: Wednesday, February 14, 2024 1:08 PM
To: Royal, Michael <MRoyal@littler.com>; Bryan Hatten <bhatten@transperfect.com>; Brodrick, Collin K.
<collin.brodrick@ogletreedeakins.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


[Caution: Email received from external source]



I’m fine with that Michael. Collin, is that OK with you?
                                                                18
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Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

<image001.png>

<image002.png>


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Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Royal, Michael <MRoyal@littler.com>
Sent: Wednesday, February 14, 2024 2:02 PM
To: Bryan Hatten <bhatten@transperfect.com>; Brodrick, Collin K. <collin.brodrick@ogletree.com>; Myers, Donald W.
<DWMyers@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Hello.

Don may know better, but I think:

          Collin (only) will review the privileged documents and let you know what to do with docs – based on his
review.

          At the same time, Collin and Littler will be reviewing the non-privileged documents. AEO documents will not
          be withheld from Cesium, but will be included in the review set Litter is reviewing. I don’t know what the
          protocol says, but if it makes things easier (and will keep us moving forward), then Cesium will agree to
          temporarily deem the entire non-privileged documents review set as AEO for the next few days (i.e., until next
          Wednesday) – so we can obtain a copy of the documents asap and Collin can have an opportunity to review the
          non-privileged documents prior to Cesium seeing them.
                                                                19
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Michael

Michael Royal
Shareholder
214.880.8160 direct, 214.212.3681 mobile, 214.593.4141 fax
MRoyal@littler.com

<image001.png>

<image002.png>


Labor & Employment Law Solutions | Local Everywhere
2001 Ross Avenue, Suite 1500, Dallas, TX 75201-2931
From: Bryan Hatten <bhatten@transperfect.com>
Sent: Wednesday, February 14, 2024 11:32 AM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Myers, Donald W. <DWMyers@littler.com>; Royal, Michael
<MRoyal@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Understood

We will wait for the approval of the documents based on the logs being sent before we promote images to the database for your
review.

Based on your last statement in the email from 12:02 EST re: to confidentiality, will AEO documents be withheld from Cesium
review until the meet and confer is complete?


________________
Bryan Hatten
Senior Director, Project Management
<image003.png>

m +1 917.748.7393
transperfectlegal.com


                                                              20
                     Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 114 of 140
<image004.png>



<image005.png>

<image006.png>

From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, February 14, 2024 12:21 PM
To: Bryan Hatten <bhatten@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>; Royal, Michael
<MRoyal@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

As you say, Ogletree will be reviewing the potentially privileged documents while Littler is reviewing the non-privileged docs.
However, I’d like viewing access to the non-privileged docs that Littler is reviewing. I’m fine with releasing the potentially
privileged docs to Littler as I mark them non-privileged.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/f43d0c70/9ftQj_zRW02NsghrLUnMqg?u=http://www.ogletree.com/ | Bio



From: Bryan Hatten <bhatten@transperfect.com>
Sent: Wednesday, February 14, 2024 10:59 AM
To: Myers, Donald W. <DWMyers@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Royal, Michael
<MRoyal@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


[Caution: Email received from external source]



Collin

We will also be providing the Confidential and AEO as a column in the logs, based on the paragraph 6 in the agreement.
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What we do need clarification on is regarding the Relativity review of the forensically collected documents. Will Littler and
Ogletree be simultaneously reviewing the documents in Relativity? In other words will Ogletree be reviewing the potentially
privileged documents while Littler is reviewing non-privileged documents?

If this is the preferred method we can lock down certain views and as Ogletree determines if the documents are not privileged
they can be released to the Littler review.

This would likely be the most efficient method but we will hold on this until the logs are approved.

Thank you


________________
Bryan Hatten
Senior Director, Project Management
<image003.png>

m +1 917.748.7393
transperfectlegal.com

<image007.png>



<image005.png>

<image006.png>

From: Myers, Donald W. <DWMyers@littler.com>
Sent: Wednesday, February 14, 2024 11:31 AM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Royal, Michael <MRoyal@littler.com>; Rattana Phansackdy
<rphansackdy@transperfect.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Collin, I don’t understand your concern. If the email or document has any of the presumptively privileged terms, they have been
pulled from the documents that Littler can review.


                                                                22
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Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

<image001.png>

<image002.png>


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From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Wednesday, February 14, 2024 10:59 AM
To: Royal, Michael <MRoyal@littler.com>; Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Myers, Donald W. <DWMyers@littler.com>; TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

How will we be able to tell between “confidential” vs. “attorneys eyes only” hits per paragraph 3 of section 6?


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/93da9fc8/k22Q938EaECfBOOqWrfuOw?u=http://www.ogletree.com/ |
Bio



From: Royal, Michael <MRoyal@littler.com>
Sent: Wednesday, February 14, 2024 9:51 AM
To: Rattana Phansackdy <rphansackdy@transperfect.com>
Cc: Myers, Donald W. <DWMyers@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; TeamRittenhouse
<TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
Subject: Re: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]
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[Caution: Email received from external source]



Great. Thx.

Sent from my iPhone


       On Feb 14, 2024, at 9:46 AM, Rattana Phansackdy <rphansackdy@transperfect.com> wrote:


       Hi Michael,

       They will have a control number.

       Thanks


       Rattana Phansackdy
       Senior Project Manager
       M +1 215.292.0139

       <image001.png>


       From: Royal, Michael <MRoyal@littler.com>
       Sent: Wednesday, February 14, 2024 10:39 AM
       To: Rattana Phansackdy <rphansackdy@transperfect.com>
       Cc: Myers, Donald W. <DWMyers@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletree.com>;
       TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire <sclaire@transperfect.com>
       Subject: Re: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

       Thank you. Will the review set of documents have bates labels of some sort, i.e., so we can easily refer to a
       document in discussions amongst the group?

       Sent from my iPhone


                                                               24
      Case 1:24-cv-00314-RP Document 10 Filed 03/29/24 Page 118 of 140
On Feb 14, 2024, at 9:36 AM, Rattana Phansackdy <rphansackdy@transperfect.com> wrote:


Good Morning Don,

Apologize for the delay. The team is doing a final check and we should have a report over to you
shortly. There are 2,177 total documents that hit on search terms but not privilege terms from
paragraph 6.

221 documents hit on privilege terms.


Thanks

Rattana Phansackdy
Senior Project Manager
M +1 215.292.0139

<image001.png>

From: Myers, Donald W. <DWMyers@littler.com>
Sent: Wednesday, February 14, 2024 8:52 AM
To: Rattana Phansackdy <rphansackdy@transperfect.com>; Royal, Michael
<MRoyal@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletree.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Good morning Rattana. Could you let us know if the documents hit on by the terms in
Paragraph 6 have been removed? And please let us know when we can review the remaining
documents that were not hit on by the terms in Paragraph 6.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com
                                               25
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Pronouns: He/Him

<image003.png>


<image004.png>


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From: Rattana Phansackdy <rphansackdy@transperfect.com>
Sent: Tuesday, February 13, 2024 1:47 PM
To: Royal, Michael <MRoyal@littler.com>; Brodrick, Collin K. <collin.brodrick@ogletree.com>;
Myers, Donald W. <DWMyers@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

We are updating the report and will that over today.


Rattana Phansackdy
Senior Project Manager
M +1 215.292.0139

<image001.png>

From: Royal, Michael <MRoyal@littler.com>
Sent: Tuesday, February 13, 2024 1:11 PM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Rattana Phansackdy
<rphansackdy@transperfect.com>; Myers, Donald W. <DWMyers@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]



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So, we need a new hit list that contains hits on the search terms, but that does not include
the privileged terms in paragraph 6? Is that correct? When will we see that hit
list? Thank you.

MR


From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Tuesday, February 13, 2024 12:03 PM
To: Rattana Phansackdy <rphansackdy@transperfect.com>; Myers, Donald W.
<DWMyers@littler.com>; Royal, Michael <MRoyal@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Thank you. And, to clarify because I misspoke, the hit log itself is not AEO just the
hits/images/files themselves as described in section 6. I also want to reiterate that nothing
before February 10, 2021, qualifies as a “hit.”


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | https://link.edgepilot.com/s/3d4356d5/XulUDI3t-
UiSt3NBsngnkg?u=http://www.ogletree.com/ | Bio



From: Rattana Phansackdy <rphansackdy@transperfect.com>
Sent: Tuesday, February 13, 2024 11:59 AM
To: Brodrick, Collin K. <collin.brodrick@ogletreedeakins.com>; Myers, Donald W.
<DWMyers@littler.com>; Royal, Michael <MRoyal@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]


[Caution: Email received from external source]



Thanks Collin, makes sense. We will not run a separate search.
                                                 27
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Rattana Phansackdy
Senior Project Manager
M +1 215.292.0139

<image006.png>

From: Brodrick, Collin K. <collin.brodrick@ogletree.com>
Sent: Tuesday, February 13, 2024 12:52 PM
To: Rattana Phansackdy <rphansackdy@transperfect.com>; Myers, Donald W.
<DWMyers@littler.com>; Royal, Michael <MRoyal@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report [ODNSS-OGL.107736.000001]

Stop. The hit report (which is AEO) includes the files located using only the search terms in
section 5 even if they include privileged attorney-client communications (i.e., emails that include
the email extensions listed in the second paragraph of section 6). TransPerfect will not run a
separate search for attorney-client communications nor is Cesium’s counsel allowed to see the
attorney-client communications themselves without my approval. Does that make sense?


Collin K. Brodrick | Ogletree Deakins
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collin.brodrick@ogletree.com |
https://link.edgepilot.com/s/1e63e31d/fYtEZm3TfkOzS7I0wUriDg?u=http://www.ogletree.com/ |
Bio



From: Rattana Phansackdy <rphansackdy@transperfect.com>
Sent: Tuesday, February 13, 2024 11:44 AM
To: Myers, Donald W. <DWMyers@littler.com>; Brodrick, Collin K.
<collin.brodrick@ogletreedeakins.com>; Royal, Michael <MRoyal@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report


[Caution: Email received from external source]
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Thanks Don. We will run the privilege terms and sent over a hit report today.


Rattana Phansackdy
Senior Project Manager
M +1 215.292.0139

<image006.png>

From: Myers, Donald W. <DWMyers@littler.com>
Sent: Tuesday, February 13, 2024 12:35 PM
To: Rattana Phansackdy <rphansackdy@transperfect.com>; Brodrick, Collin K.
<collin.brodrick@ogletree.com>; Royal, Michael <MRoyal@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: RE: C2044033_Cesium-Luther_Search hit report

Rattana, thanks for sending this. I believe under the protocol, Paragraph 6 requires the privilege
terms to be run. Has this occurred?

Collin, let me know if you disagree.

Don


Donald W. Myers
Shareholder - eDiscovery Counsel
267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
DWMyers@littler.com

Pronouns: He/Him

<image003.png>


<image004.png>

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Three Parkway, 1601 Cherry Street, Suite 1400, Philadelphia, PA 19102-1321



From: Rattana Phansackdy <rphansackdy@transperfect.com>
Sent: Tuesday, February 13, 2024 11:50 AM
To: Brodrick, Collin K. <collin.brodrick@ogletree.com>; Myers, Donald W.
<DWMyers@littler.com>; Royal, Michael <MRoyal@littler.com>
Cc: TeamRittenhouse <TeamRittenhouse@transperfect.com>; Stuart Claire
<sclaire@transperfect.com>
Subject: C2044033_Cesium-Luther_Search hit report


[EXTERNAL E-MAIL]



Good Afternoon,

Attached is the search term report. There are 2,402 hits with family before deduplication. Let us
know if you would like a complete filename listing and if you would like to review these
Relativity.


Thanks
Rattana

Rattana Phansackdy
Senior Project Manager

<image007.png>
M +1 215.292.0139
https://link.edgepilot.com/s/c00c9475/9A6XueMeckic6rCPzRxEBw?u=http://www.transperfectl
egal.com/



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        EXHIBIT D-9
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Brodrick, Collin K.

From:                              Brodrick, Collin K.
Sent:                              Friday, March 1, 2024 10:55 AM
To:                                Myers, Donald W.
Subject:                           Cesium/Luther | TransPerfect [ODNSS-OGL.107736.000001]


Hi Don- I wanted to let you know that TransPerfect is gumming up the works. Specifically, they are refusing to make the “Littler tag” filter visible for me and Erik
so we can see which documents you guys tagged as responsive. The filter was visible a few days ago and then disappeared. Without the filter, Erik and I can’t
drill down to the 160 or so documents that Cesium thinks should be remediated. Please contact them to get this moving.


Collin K. Brodrick | Ogletree Deakins
8117 Preston Road, Suite 500 | Dallas, TX 75225 | Telephone: 214-692-0168
collin.brodrick@ogletree.com | www.ogletree.com | Bio




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           EXHIBIT E
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                   FORENSIC INSPECTION PROTOCOL AGREEMENT

        CesiumAstro Inc. (“Cesium”) and Erik Luther (“Luther”), collectively, the “Parties,”
jointly agree to this Forensic Inspection Protocol Agreement (the “Protocol”), which
establishes the terms for the imaging, searching and inspection of the Materials (defined
below).

        TransPerfect Legal Solutions shall serve as the computer forensic examiner (“Forensic
Examiner”) in this forensic inspection. The Forensic Examiner has been engaged by Cesium
to execute the directives contained within this Protocol. However, by entering into this
Protocol, neither Party waives the right to seek other, further forensic examination of relevant
documents and information through discovery in any future proceeding (and/or by further
voluntary agreement of the Parties), and each Party specifically reserves the right to do so.
Moreover, nothing in this Agreement waives any claims, objections and/or defenses of the
Parties and all such rights and defenses are expressly reserved.

       1.     Collection of the Materials

       Luther, by and through his counsel, shall make available for forensic inspection to the
Forensic Examiner the following Materials within three (3) business days of execution of this
Protocol.

       The Materials are defined as follows:

              a.      The “two USB flash drives” referenced in the email forwarded from
                      Collin K. Brodrick to Michael P. Royal on Monday, October 16, 2023,
                      at 1:08 PM;

              b.      The “external hard drive with video files CesiumAstro was planning to
                      use for a public-facing video and a flash drive with three files he had to
                      print at Office Depot,” as referenced in the email forwarded from Collin
                      K. Brodrick to Michael P. Royal on Monday, October 16, 2023, at 1:08
                      PM;

              c.      Email account: Eluther22@hotmail.com

              d.      Email account: trudant@hotmail.com

              e.      Email account: hluther07@icloud.com

       The Materials will be provided by Luther, by and through his counsel, to the Forensic
Examiner with an accompanying chain of custody, if that chain of custody documentation
exists. Luther, by and through his counsel, will provide the Forensic Examiner with
usernames, passwords, two-factor authentication, applicable encryption keys, and/or other
information needed to allow complete access by the Forensic Examiner.



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        The Materials and associated usernames, passwords, two-factor authentication, and/or
other information needed to allow complete access by the Forensic Examiner shall be
provided to the Forensic Examiner within three (3) business days of the execution of this
Protocol. While in possession of the Materials, the Forensic Examiner shall retain and
maintain the Materials in a secure, confidential environment and limit access to the Materials
to staff assigned to work on this case assignment under this Protocol.

       2.       Preparation for Inspection

        As part of the imaging and collection process, the Forensic Examiner shall take all
necessary digital photographs and shall record the specifications, characteristics, serial
numbers (physical and volume), along with the current physical condition and operability.
Prior to imaging, the Forensic Examiner shall properly prepare suitable forensic storage media
(“Target Media”) for receipt of any forensic images created through the Forensic Examiner’s
execution of any directives under this Protocol.

       3.       Collection and Remediation of USB devices and External Hard Drive:

       The Forensic Examiner will utilize industry-standard forensic tools make a complete
and forensically-sound collection of the storage devices.

        The Forensic Examiner will preserve the collected data on a set of redundant,
encrypted hard drives to prevent unintended access to custodian data and to prevent catastrophic
data loss. The collected data will be stored offline in the forensic laboratory’s secure evidence
vault. Access to such vaults is restricted to Transperfect forensic personnel, and the vaults are
secured behind three layers of keycard/PIN access. The evidence vault is located at the
Transperfect Forensic Lab 1717 Main Street, Suite 3950, Dallas, Texas, 75201.

       When data is requested by Client or Outside counsel to be exported for review, TLS will
access one of the redundant encrypted hard drives:

            a. The Forensic Examiner will parse the forensic image using a forensic tool.
            b. Prior to the Forensic Examiner conducting any forensic analysis/examination (a
               “Review”) of any forensic image created from the Materials, the Forensic Examiner
               shall ensure that all partitions are displayed/recovered and shall then execute the
               EnCase “Recover Folders” command (or similar command if using another forensic
               software tool), and shall save the results of the same for inclusion within the Review.
               The Forensic Examiner shall also include in the Review the “volume shadow copies”
               and the “Lost Files” category of documents, as defined by the Encase software
               documentation (or similar functionality if using another forensic software tool).
            c. The Forensic Examiner will then ensure that all container files have been fully
               traversed and that all files, metadata and their contents are searchable. This would
               include, but is not limited to, technologies such as optical character recognition of all
               images and non-searchable PDF documents.
            d. The Forensic Examiner will export/convert the requested data set(s) into a format
               that can be ingested to a Review Platform.
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            e. Counsel will identify items to be remediated and provide list to the Forensic
               Examiner. See Paragraph 7 below.
            f. The Forensic Examiner will delete identified files and then overwrite the slack
               space on the devices with zeros.
            g. The Forensic Examiner will re-image the devices post-remediation and inspect to
               ensure all identified items have been removed.
            h. After the Materials identified in paragraphs 1(a) and 1(b) have been forensically
               imaged, the Forensic Examiner will securely store them at its premises until
               execution of the remediation and return procedures in Paragraph 7 below.


        The Forensic Examiner shall document and record on an acquisition form: (i) a general
description of the process and tools utilized to conduct the collection; (ii) the MD5 hash value
of the original source of such Materials; and (iii) the MD5 hash value of the copy.

       4.      Collection and Remediation of Email Accounts:

            a. Counsel will provide the Forensic Examiner with credentials to the email accounts.
               Assistance with two-factor authentication may be needed from the custodian.
            b. The Forensic Examiner will disable user access to the accounts.
            c. The Forensic Examiner will utilize industry-standard forensic tools to make a
               complete and forensically-sound collection of the email accounts.
            d. The Forensic Examiner will preserve the collected data on a set of redundant,
               encrypted hard drives to prevent unintended access to custodian data and to
               prevent catastrophic data loss. The collected data will be stored offline in the
               forensic laboratory’s secure evidence vault. Access to such vaults is restricted to
               Transperfect forensic personnel, and the vaults are secured behind three layers of
               keycard/PIN access. The evidence vault is located at the Transperfect Forensic Lab
               1717 Main Street, Suite 3950, Dallas, Texas, 75201.
            e. The Forensic Examiner will export the requested data set(s) into an .eml or .pst
               format for ingestion into a Review Platform.
            f. Counsel will identify items to be remediated and provide list to the Forensic
               Examiner. See Paragraph 7 below.
            g. The Forensic Examiner will remove the items, empty the deleted items folder, and
               remove the items from the “Recoverable items” folder.
            h. The Forensic Examiner will re-collect the email accounts post-remediation and
               inspect to ensure all identified items have been removed.

       5.      Search for Data

      For the Materials identified in Paragraphs 1(a), 1(b), 1(c) and 1(d) above, the Forensic
Examiner shall conduct a search of the Materials for information that are hits to the following
Data Search Terms: (i) “@cesiumastro.com” (ii) “cesium” (iii) “astro” (iv) “SDR,” (v) “RF,”
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(vi) “radio,” (vii) “frequency,” (viii) “signal,” and otherwise comply with the following steps
in this Protocol. The Forensic Examiner shall use and apply the Data Search Terms to the
Materials identified in Paragraphs 1(a), 1(b), 1(c) and 1(d) above and determine if there are
any responsive “hits” in documents, files, file names, and/or folder names in such Materials.
Any “Hits” on Materials created before February 10, 2021, shall be excluded from this review
and not provided to counsel for Cesium.

       6.      Reporting Requirements

       The Forensic Examiner shall record in a log (the “Hit Log”), any items, files, folder
names, and/or file names that were responsive to the Data Search Terms. Each entry in the
Hit Log shall contain the responsive search term and a unique item reference number, e-
mail/chat metadata (to, from, cc, bcc, subject, attachment/names, date sent, date received),
File Name, File Signature, File Size, MD5 hash value, file metadata including the dates and
times for File Created, Last Written, File Description (archive, file, folder, overwritten,
deleted, etc.) Last Accessed, Entry Modified, date added and Full Path values.

       After the Forensic Examiner has completed the tasks set forth in Paragraph 5, the Forensic
Examiner shall create a forensically sound image of all “Hits” and provide a copy of same to
counsel for Cesium and counsel for Luther, except as provided in the next sentence. The Forensic
Examiner shall create a separate forensically sound image of all “Hits” that also include any of the
following terms: “@ogletree.com,” “@ogletreedeakins.com,” “@jeffreygoldberglaw.com,”
and/or “@fultonjeang.com,” and provide a copy of same ONLY to counsel for Luther. Counsel
for Luther shall review these “Hits,” determine whether any of the “Hits” contain privileged
communications, and if so, list them on a privilege log. Any “Hits” on materials generated before
February 10, 2021 need not be logged. If the “Hits” do not contain any privileged information or
the privileged communication can be redacted (leaving only unprivileged
communications/information), then counsel for Luther shall work with the Forensic Examiner to
make same available to counsel for Cesium. The Forensic Examiner shall likewise maintain one
copy of the forensic images of all such “hits.”

        All of the “Hits” provided to Counsel for Cesium and for Luther shall be designated in
the following manner under the Confidentiality Agreement, which will be executed at the
same time as this Protocol:

               The “Hits” from the Materials identified in Paragraphs 1(a) and 1(b) shall be
               designated as Attorney Eyes Only;

               For the Materials identified in Paragraphs 1(c), 1(d), and 1(e), any “Hits”
               generated by the term @cesiumastro.com shall be designated as Confidential;
               and

               The remaining “Hits” from the Materials identified in Paragraphs 1(c), 1(d),
               and 1(e) shall be designated as Attorney Eyes Only.

      After counsel for the Parties complete their respective review of the “hits,” they shall
meet and confer in good faith to determine whether the confidentiality designation of any
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“Hits” should be modified from Attorney Eyes Only to only Confidential, i.e., because such
document/information may contain Cesium’s business information, which may be subject to
return to and review by Cesium.

       7.      Remediation and Return of Materials

        Cesium’s counsel and Luther’s counsel will confer in good faith to identify which, if any,
of the data on the Materials constitute Cesium business information or property. Once an
agreement is reached, counsel for the Parties shall jointly draft and transmit to the Forensic
Examiner a list of the files to be permanently deleted. The Forensic Examiner will confirm to
Cesium’s counsel and Luther’s counsel in writing once the deletion is completed. The Forensic
Examiner will return the physical Materials to Luther within one (1) business day of completing
the deletion and re-enable custodian access to the email accounts. The Forensic Examiner will
retain and maintain the confidentiality of all copies of the forensic images and all other data
extracted from the Materials after returning the Materials to counsel Luther, unless jointly
instructed otherwise by counsel for both Parties and/or by an order of a court of competent
jurisdiction.

       8.      No Waiver of Privilege and No Waiver of Rights and Defenses; Confidential
               Treatment of Materials

        The Parties agree that the analysis to be conducted by the Forensic Examiner under this
Protocol does not constitute a waiver of any privilege. Nor does the Parties’ agreement to proceed
with the forensic examination contemplated by this Protocol constitute an admission of liability,
or a waiver of any defense, including a defense to disclosure of documents and information, in
these proceedings.

        All reports, disclosures, documents and information contemplated by or referenced in this
Protocol shall not be disclosed by the Forensic Examiner to any third party, except where the
Parties may otherwise mutually provide or designate (or a Court orders) in the future.

       9.      Cooperation

        The Parties agree to cooperate in good faith with one another to complete all tasks set
forth in this Protocol and to do their best to proceed quickly through all of the steps.

       10.     Third Party Inquiries

        If the Forensic Examiner is served with a subpoena or court order, which appears valid on
its face and which seeks some or all of the Materials (and/or any images, documents or Reports
generated under this Protocol), the Forensic Examiner shall promptly inform the Parties of such
subpoena or order. The Party whose information is the subject of the subpoena or order shall
thereafter be responsible for preparing such objections and/or preparing and filing such motions
or applications to limit or prevent disclosure of such information.




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         11.    Reservation of Right to Recover Fees and Costs

        All of the costs and expenses invoiced by the Forensic Examiner in connection with
this Protocol shall be borne solely by Cesium.




  /s/ Donald W. Myers
                                                 /s/ Collin K. Brodrick
 Counsel for and on behalf of Cesium             Counsel for and on behalf of Luther



Corporate representative of Cesium              Erik Luther


Title:    Chief of Staff




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Brodrick, Collin K.

From:                                 Brodrick, Collin K.
Sent:                                 Tuesday, January 30, 2024 5:47 PM
To:                                   Myers, Donald W.
Cc:                                   Royal, Michael
Subject:                              Re: Return and remediation of CesiumAstro property remaining in Mr. Luther's Possession [ODNSS-OGL.107736.000001]


Agreement via email is fine with me.

Collin K. Brodrick, Esq.
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
214-692-0168



       On Jan 30, 2024, at 5:12 PM, Myers, Donald W. <DWMyers@littler.com> wrote:



           [Caution: Email received from external source]



       Collin, thanks for sending this over. I’ll sign and send back shortly. I would note that under Paragraph 5, we both missed adding in Paragraph
       1(e); however, Paragraph 1(e) is referenced in Paragraph 6. Do you want to revise the protocol, or just agree via email that under Paragraph 5,
       the terms are to be run against Paragraph 1(e)?

       Don


       Donald W. Myers
       Shareholder - eDiscovery Counsel
       267.402.3041 direct, 215.284.1318 mobile, 267.285.2797 fax
       DWMyers@littler.com

       Pronouns: He/Him


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